          Case 18-07762-JJG-11                            Doc 67           Filed 11/01/18            EOD 11/01/18 22:09:49       Pg 1 of 131




 Fill in this information to identify the case:

 Debtor name         Fayette Memorial Hospital Association, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)         18-07762
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 1, 2018                        X /s/ Samantha Bell-Jent
                                                                       Signature of individual signing on behalf of debtor

                                                                       Samantha Bell-Jent
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           Case 18-07762-JJG-11                                       Doc 67                 Filed 11/01/18                        EOD 11/01/18 22:09:49                               Pg 2 of 131
 Fill in this information to identify the case:

 Debtor name            Fayette Memorial Hospital Association, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF INDIANA

 Case number (if known)               18-07762
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       14,688,400.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       28,875,912.88

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       43,564,312.88


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       15,830,296.95


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       10,295,988.37


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         26,126,285.32




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
          Case 18-07762-JJG-11                            Doc 67       Filed 11/01/18       EOD 11/01/18 22:09:49                   Pg 3 of 131
 Fill in this information to identify the case:

 Debtor name         Fayette Memorial Hospital Association, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)         18-07762
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Comerica Operating Account                               Checking                     0570                                    $50,000.00



                   Comerica Disbursement Account
           3.2.    (Payables Account)                                       Checking                     0539                                             $0.00




           3.3.    Comerica Sinking Fund Account                            Deposit Account              1466                                  $204,500.00



                                                                            Custodial Securities
           3.4.    Comerica Custodial Securities Account                    Account                      0696                                  $198,000.00



                   Comerica Insurance Claims Account                        Insurance Claims
           3.5.    (Inactive)                                               Account                      0513                                             $0.00




           3.6.    Comerica FSA Account (Inactive)                          FSA Account                  0521                                             $0.00




           3.7.    First FInancial Bank                                     Lockbox Account (old)        7873                                             $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
           Case 18-07762-JJG-11                           Doc 67       Filed 11/01/18       EOD 11/01/18 22:09:49              Pg 4 of 131

 Debtor           Fayette Memorial Hospital Association, Inc.                                Case number (If known) 18-07762
                  Name



                    First FInancial Bank - Checking (Grant
           3.8.     Funds)                                                  Checking                        6146                               $0.00



                    Health Care Professionals Federal
           3.9.     Credit Union                                            Credit Union Savings            7410                               $0.00



           3.10
           .    U.S. Bank                                                   Lockbox Account                 5957                               $0.00



           3.11                                                             Checking - Operating
           .    U.S. Bank - Operating                                       Account                         6599                       $80,000.00



           3.12                                                             Checking - Accounts
           .    U.S. Bank - Accounts Payable                                Payable                         6581                               $0.00


                First FInancial Bank - Checking
                Account in the Name of Fayette
                Regional Health System Pain
           3.13 Management, LLC (not owned by the
           .    Debtor), but Debtor is a signatory                          Checking                        3027                               $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                        $532,500.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                    Debtor pays annual insurance premiums, but finances those premiums. For most
           8.1.     policies, insurance premiums are paid through 3/2/2019.                                                                    $0.00




           8.2.     Prepaid Dues (as of 9/30/18)                                                                                       $31,670.73




           8.3.     Prepaid maintenance and service agreements (as of 9/30/18)                                                       $239,467.38




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
           Case 18-07762-JJG-11                           Doc 67       Filed 11/01/18            EOD 11/01/18 22:09:49              Pg 5 of 131

 Debtor           Fayette Memorial Hospital Association, Inc.                                     Case number (If known) 18-07762
                  Name




           8.4.     Prepaid Other (as of 9/30/18)                                                                                            $145,265.86




 9.        Total of Part 2.                                                                                                              $416,403.97
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                           18,734,410.00    -                       10,491,269.60 =....                   $8,243,140.40
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                            $8,243,140.40
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                           Valuation method used    Current value of
                                                                                                           for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     Membership interests in Fayette Regional
           15.1.     Health System Pain Management, LLC                               51%            %     N/A                                  Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                      $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of         Valuation method used    Current value of
                                                      physical inventory         debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 18-07762-JJG-11                           Doc 67       Filed 11/01/18        EOD 11/01/18 22:09:49              Pg 6 of 131

 Debtor         Fayette Memorial Hospital Association, Inc.                                   Case number (If known) 18-07762
                Name

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Food service inventory
           and supplies sold by
           U.S. Food Service to the
           Debtor
           estimated at $6,240 on
           hand as of the Petition
           Date                                                                             $0.00    Recent cost                            $6,420.00


           Pharmaceutical and
           medical supplies sold to
           the Debtor by
           Amerisource Bergen
           prior to the Petition
           Date.                                                                       Unknown                                            $14,834.29


           General - $36,699.07
           (plus US Foods $6,240)
           Reagents - $82,116.64
           Surgery - $335,459.55
           Pharmacy - $291,187.45
           (plus ABDC $14,834.29)                                                      Unknown       N/A                                 $702,523.64




 23.       Total of Part 5.                                                                                                          $723,777.93
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method      Recent             Current Value
                                                                 0                     Purchase                                   210241.37

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
           Case 18-07762-JJG-11                           Doc 67       Filed 11/01/18        EOD 11/01/18 22:09:49              Pg 7 of 131

 Debtor         Fayette Memorial Hospital Association, Inc.                                   Case number (If known) 18-07762
                Name



 39.       Office furniture
           Included in #50 Below                                                            $0.00                                                 $0.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Included in #50 below.                                                           $0.00                                                 $0.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2009 Chrysler Town & Country Tour Ed
                     (40,000mi)
                     VIN: 2A8H4541X9R536412                                            Unknown       N/A                                    $6,000.00


           47.2.     2004 Chevy Silverado K2500HD
                     (84,000miles)
                     VIN 1GCHK24UX4E248559                                                  $0.00    N/A                                  $14,000.00


           47.3.     2010 Chevy HHR LS (192,370miles)
                     VIN: 3GNBAADB5AS563568                                            Unknown       N/A                                    $4,000.00


           47.4.     2007 Chevy Malibu Maxx LT (130,000
                     miles)
                     VIN: 1G1ZT67N77F217709                                            Unknown       N/A                                    $4,000.00


           47.5.     2003 Ford Focus SE/SE SPT/ZTW
                     (57,889 miles)
                     VIN: 1FAFP36373W331657                                            Unknown       N/A                                    $1,500.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
           Case 18-07762-JJG-11                           Doc 67       Filed 11/01/18        EOD 11/01/18 22:09:49              Pg 8 of 131

 Debtor         Fayette Memorial Hospital Association, Inc.                                   Case number (If known) 18-07762
                Name



           47.6.     2001 Ford E350 (84,900 miles)
                     VIN: 1FBNE31L21HB11870                                            Unknown       N/A                                     $3,500.00


           47.7.     2001 Ford Econoline E350 Super Duty
                     (100,500 miles)
                     VIN: 1FTSS34L11HA82901                                            Unknown       N/A                                     $8,900.00


           47.8.     2001 Ford E350 (100,733miles)
                     VIN: 1FBNE31L71HA96220                                            Unknown       N/A                                     $3,500.00


           47.9.     2000 Ford F250 Super Duty
                     (80,000miles)
                     VIN: 1FTNF21L7YEC44087                                            Unknown       N/A                                     $5,500.00


           47.10 1994 Trailer
           .     VIN: 12UT1000023000                                                   Unknown       N/A                                       $500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Debtor's Equipment (per Balance Sheet on
           8/31/18)                                                               $18,569,441.00     N/A                               $18,569,441.00




 51.       Total of Part 8.                                                                                                        $18,620,841.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
          Case 18-07762-JJG-11                            Doc 67       Filed 11/01/18       EOD 11/01/18 22:09:49              Pg 9 of 131

 Debtor         Fayette Memorial Hospital Association, Inc.                                  Case number (If known) 18-07762
                Name

           available.
           55.1. Hospital Campus
                     1941 Virginia Ave,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-24-529-501.000-
                     003                                  Fee simple                   Unknown       Tax records                   $10,501,300.00


           55.2.     Parking Lot
                     3542 N. Western
                     Ave., Connersville, IN
                     47331
                     Parcel No.
                     21-05-12-514-504.000-
                     008                                  Fee simple                   Unknown       Tax records                       $95,100.00


           55.3.     Medical Office
                     Building
                     3542 - 3548 N.
                     Western Ave.,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-12-514-505.000-
                     008                                  Fee simple                   Unknown       Tax records                     $411,200.00


           55.4.     Shed and Storage
                     Building
                     614 W. 35th Street,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-12-514-522.000-
                     008                                  Fee Simple                   Unknown       Tax records                       $51,600.00


           55.5.     Medical Office
                     Building
                     2004 Indiana Avenue,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-13-505-514.000-
                     008                                  Fee Simple                   Unknown       Tax records                     $106,300.00


           55.6.     Parking Lot - Fenced
                     2005 Virginia Ave.,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-13-505-515.000-
                     008                                  Fee Simple                   Unknown       Tax records                     $149,700.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67       Filed 11/01/18       EOD 11/01/18 22:09:49           Pg 10 of 131

 Debtor         Fayette Memorial Hospital Association, Inc.                                  Case number (If known) 18-07762
                Name

           55.7.     Parking Lot and
                     Detached Garage
                     212 W. 20th Street,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-13-506-509.000-
                     008                                  Fee Simple                   Unknown       Tax records                    $37,400.00


           55.8.     Parking Lot
                     2008 Virginia Ave.,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-13-506-510.000-
                     008                                  Fee Simple                   Unknown       Tax records                    $24,200.00


           55.9.     Single Family Home
                     212 W. 20th Street,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-13-506-512.000-
                     008                                  Fee Simple                   Unknown       Tax records                    $43,100.00


           55.10 Medical Office
           .     Building
                     2140 Indiana Avenue,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-13-510-505.000-
                     008                                  Fee Simple                   Unknown       Tax records                    $98,600.00


           55.11 Fenced Parking Lot
           .     2147 Virginia Ave.,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-13-510-522.000-
                     008                                  Fee Simple                   Unknown       Tax records                    $22,800.00


           55.12 Commercial Office
           .     Building
                     1936 Virginia Avenue,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-24-530-502.000-
                     003                                  Fee Simple                   Unknown       Tax records                    $62,200.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67       Filed 11/01/18       EOD 11/01/18 22:09:49           Pg 11 of 131

 Debtor         Fayette Memorial Hospital Association, Inc.                                  Case number (If known) 18-07762
                Name

           55.13 Commercial Office
           .     Building
                     1926 Virginia Ave.,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-24-530-503.000-
                     003                                  Fee Simple                   Unknown       Tax records                    $67,300.00


           55.14 Single Family Home
           .     1920 Virginia Ave.,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-24-530-504.000-
                     003                                  Fee Simple                   Unknown       Tax records                    $33,200.00


           55.15 Medical Office
           .     Building, Parking Lot,
                     and 10 acres
                     undeveloped
                     450 Erie Avenue,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-06-07-100-003.000-
                     008                                  Fee Simple                   Unknown       Tax records                $1,969,300.00


           55.16 Single Family Home
           .     1829 Virginia Ave,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-24-526-519.000-
                     003                                  Fee Simple                   Unknown       Tax records                    $79,400.00


           55.17 Medical Office
           .     Building
                     420 W. 24th Street,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-13-533-520.000-
                     008                                  Fee Simple                   Unknown       Tax records                  $105,400.00


           55.18 Medical Office
           .     Building
                     2025 Virginia Avenue,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-13-505-549.000-
                     008                                  Fee Simple                   Unknown       Tax records                  $369,300.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67       Filed 11/01/18        EOD 11/01/18 22:09:49              Pg 12 of 131

 Debtor         Fayette Memorial Hospital Association, Inc.                                   Case number (If known) 18-07762
                Name

            55.19 Single Family Home
            .     2016 Virginia Avenue,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-13-506-508.000-
                     008                                  Fee Simple                   Unknown         Tax records                        $62,800.00


            55.20 Fenced Parking Lot
            .     1938 Virginia Ave.,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-24-530-501.000-
                     003                                  Fee Simple                   Unknown         Tax records                       $113,400.00


            55.21 Storage Building and
            .     Lot
                     3135 Virginia Ave.,
                     Connersville, IN
                     47331
                     Parcel No.
                     21-05-12-503-540.000-
                     008                                  Fee Simple                   Unknown         Tax records                       $284,800.00




 56.        Total of Part 9.                                                                                                       $14,688,400.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademark - Fayette Regional Health Systems -
            IN File No. 2007-0189                                                      Unknown                                              Unknown



 61.        Internet domain names and websites
            www.fayetteregional.org                                                    Unknown                                              Unknown



 62.        Licenses, franchises, and royalties

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 10
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67       Filed 11/01/18        EOD 11/01/18 22:09:49               Pg 13 of 131

 Debtor         Fayette Memorial Hospital Association, Inc.                                   Case number (If known) 18-07762
                Name



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Unknown value - not recently valued.                                            $0.00                                               Unknown



 66.        Total of Part 10.                                                                                                                      $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Sign on Bonus for Dr. Barry Davis                                 42,500.00 -                                  0.00 =
            (balance as of 9/30/18). Repaid                           Total face amount     doubtful or uncollectible amount
            through work for the Debtor at the
            rate of $694.44/month.                                                                                                            $42,500.00


            Sign on Bonus for Dr. Mary Saleh                                  20,138.92 -                                  0.00 =
            (balance as of 9/30/18). Repaid                           Total face amount     doubtful or uncollectible amount
            through work for the Debtor at the
            rate of $694.44/month.                                                                                                            $20,138.92


            Sign on Bonus for Dr. Wooten                                      23,611.12 -                                  0.00 =
            (balance as of 9/30/18). No longer an                     Total face amount     doubtful or uncollectible amount
            employee so repayment through
            working for the Debtor is not
            possible.                                                                                                                         $23,611.12


            Sign on Bonus for Dr. Apama Jha                                   11,111.20 -                                  0.00 =
            (balance as of 9/30/18). Repaid                           Total face amount     doubtful or uncollectible amount
            through work for the Debtor at the
            rate of $694.44/month.                                                                                                            $11,111.20



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67       Filed 11/01/18        EOD 11/01/18 22:09:49               Pg 14 of 131

 Debtor         Fayette Memorial Hospital Association, Inc.                                   Case number (If known) 18-07762
                Name

           Promissory Note from Mary H. E.                                  227,519.83 -                                   0.00 =
           Patrick, M.D. in the original principal                    Total face amount     doubtful or uncollectible amount
           amount of $250,000. Debtor paid
           $250,000 in student loan repayments
           on behalf of Dr. Patrick pursuant to
           the terms of an employment
           agreement, and Dr. Patrick executed
           this note in favor of the Debtor to be
           repaid through bi-weekly payments
           of $2,190.15 each, with payments
           forgiven during the term of
           employment. Notice of termination
           was given prior to the Petition Date
           with the termination effectie 90 days
           thereafter. Value below is amount
           estimated to be due at the end of the
           90day period.                                                                                                               $227,519.83


           Jump Start Loan to Employee -                                          75.00 -                                  0.00 =
           Jammie J. Adams in the amount of                           Total face amount     doubtful or uncollectible amount
           $1,125 - repaid at the rate of $50/pay
           period through payroll withholdings.
           Balance on loan as of 10/13/18.                                                                                                     $75.00


           Jump Start Loan to Employee -                                       3,200.00 -                                  0.00 =
           Stephanie L. Drew in the amount of                         Total face amount     doubtful or uncollectible amount
           $4,000 - repaid at the rate of $50/pay
           period through payroll withholdings.
           Balance on loan as of 10/13/18.                                                                                                 $3,200.00


           Jump Start Loan to Employee -                                         210.00 -                                  0.00 =
           Charles E. Long in the amount of                           Total face amount     doubtful or uncollectible amount
           $610 - repaid at the rate of $50/pay
           period through payroll withholdings.
           Balance on loan as of 10/13/18.                                                                                                   $210.00


           Jump Start Loan to Employee - Beth                                    750.00 -                                  0.00 =
           A. Snyder in the amount of $1000 -                         Total face amount     doubtful or uncollectible amount
           repaid at the rate of $50/pay period
           through payroll withholdings.
           Balance on loan as of 10/13/18.                                                                                                   $750.00


           Jump Start Loan to Employee -                                         350.00 -                                  0.00 =
           Jammie J. Adams in the amount of                           Total face amount     doubtful or uncollectible amount
           $900 - repaid at the rate of $50/pay
           period through payroll withholdings.
           Balance on loan as of 10/13/18.                                                                                                   $350.00


           Scholarship Assistance to Employee                                  9,783.51 -                                  0.00 =
           - Haylee Cavins - in the amount of                         Total face amount     doubtful or uncollectible amount
           $23,480.41. Repaid at the rate of
           $978.35/month over 2 year period
           beginning August 2017. Balance as
           of 9/30/18.                                                                                                                     $9,783.51



 72.       Tax refunds and unused net operating losses (NOLs)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67       Filed 11/01/18       EOD 11/01/18 22:09:49           Pg 15 of 131

 Debtor         Fayette Memorial Hospital Association, Inc.                                  Case number (If known) 18-07762
                Name

           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                    $339,249.58
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
          Case 18-07762-JJG-11                               Doc 67             Filed 11/01/18                    EOD 11/01/18 22:09:49                   Pg 16 of 131

 Debtor          Fayette Memorial Hospital Association, Inc.                                                         Case number (If known) 18-07762
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $532,500.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $416,403.97

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $8,243,140.40

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $723,777.93

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                $18,620,841.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $14,688,400.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $339,249.58

 91. Total. Add lines 80 through 90 for each column                                                       $28,875,912.88             + 91b.           $14,688,400.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $43,564,312.88




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 14
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67              Filed 11/01/18                 EOD 11/01/18 22:09:49             Pg 17 of 131
 Fill in this information to identify the case:

 Debtor name         Fayette Memorial Hospital Association, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)           18-07762
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Indiana Department of Revenue                             Check all that apply.
           100 N. Senate Ave., Room N203                                Contingent
           Bankruptcy                                                   Unliquidated
           Indianapolis, IN 46204                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Possible tax obligations - for notice purposes.
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Indiana Department of Workforce                           Check all that apply.
           Devlpmt                                                      Contingent
           C/O IDWD Legal Support, IN Govt                              Unliquidated
           Ctr S.                                                       Disputed
           10 North Senate Ave., SE 105
           Indianapolis, IN 46204-2277
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purposes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                   48846                               Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67              Filed 11/01/18                 EOD 11/01/18 22:09:49                          Pg 18 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                                     Case number (if known)          18-07762
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Possible tax obligations - for notice purposes.
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $0.00
           3M Health Information Services                                              Contingent
           Dept 0881                                                                   Unliquidated
           PO Box 120881                                                               Disputed
           Dallas, TX 75312
                                                                                   Basis for the claim:     IT Support
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $2,082.60
           4MyBenefits, Inc.                                                           Contingent
           4665 Cornell Rd.                                                            Unliquidated
           Ste. 331                                                                    Disputed
           Cincinnati, OH 45241
                                                                                   Basis for the claim:     Benefits Services
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $67.00
           A&A Lock Shop                                                               Contingent
           234 South Eastern Avenue                                                    Unliquidated
           Connersville, IN 47331                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Debt - Building Support
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $9,656.21
           Abbott Laboratories, Inc.                                                   Contingent
           PO Box 92679                                                                Unliquidated
           Chicago, IL 60675                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Medical Supplies
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $4,420.00
           Abbott Labs                                                                 Contingent
           22400 Network Place                                                         Unliquidated
           Chicago, IL 60673                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Medical Supplies
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 19 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,849.80
          ABC Graphic Concepts, LLC                                             Contingent
          635 N. Central Ave.                                                   Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,705.00
          Access Therapies, Inc.                                                Contingent
          PO Box 823461                                                         Unliquidated
          Philadelphia, PA 19182-3461                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $310.25
          ACOG                                                                  Contingent
          PO Box 117223                                                         Unliquidated
          Atlanta, GA 30368                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,240.00
          Active Medical, Inc.                                                  Contingent
          2200-B Hummingbird Lane                                               Unliquidated
          Harrisburg, PA 17112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,137.40
          ADP, LLC                                                              Contingent
          PO Box 842875                                                         Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Payroll Services Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,800.00
          Advanced Data Systems Corp.                                           Contingent
          15 prospect Street                                                    Unliquidated
          Paramus, NJ 07652                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,142.50
          AHS Staffing, LLC                                                     Contingent
          PO Box 671714                                                         Unliquidated
          Dallas, TX 75267                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 20 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,382.58
          Aidarex Phamaceuticals                                                Contingent
          595 N. Smith Avenue                                                   Unliquidated
          Corona, CA 92880                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,625.00
          Alere North America, Inc.                                             Contingent
          PO Box 846153                                                         Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,317.97
          Allcare Medical Services                                              Contingent
          PO Box 494                                                            Unliquidated
          Smithtown, NY 11787                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,712.32
          Allied World Surplus Lines Insurance Co.                              Contingent
          1690 New Britain Ave.                                                 Unliquidated
          Ste. 101                                                              Disputed
          Farmington, CT 06032
                                                                             Basis for the claim:    Insurance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,909.00
          Alpha Imaging, LLC                                                    Contingent
          PO Box 776448                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,058.32
          Amazon Capital Services                                               Contingent
          PO Box 035184                                                         Unliquidated
          Seattle, WA 98124                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $468.00
          American Academy of Family Physicians                                 Contingent
          11400 Tomahawk Creek Pkwy.                                            Unliquidated
          Leawood, KS 66211                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 21 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $575.00
          American College of Physicians                                        Contingent
          P.O. Box 13565                                                        Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $168,000.00
          American Health Network                                               Contingent
          Attn Linda Sundin                                                     Unliquidated
          10689 N. Pennsylvania St. Ste 200                                     Disputed
          Indianapolis, IN 46280
                                                                             Basis for the claim:    Third Party Staffing Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,192.00
          American Proficiency Institute                                        Contingent
          Department 9526                                                       Unliquidated
          PO Box 30516                                                          Disputed
          Lansing, MI 48909-8016
                                                                             Basis for the claim:    Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,200.00
          American Screening Corp.                                              Contingent
          1651 East 70th street                                                 Unliquidated
          PMB 404                                                               Disputed
          Shreveport, LA 71105
                                                                             Basis for the claim:    Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,537.50
          American Traveler Satffing Professionals                              Contingent
          PO Box 932021                                                         Unliquidated
          Atlanta, GA 31193                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,391.78
          American United Life Insurance                                        Contingent
          A One America Financial PA                                            Unliquidated
          PO Box 6123                                                           Disputed
          Indianapolis, IN 46206
                                                                             Basis for the claim:    Insurance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,143.41
          Amerisourcebergen Drug Corp.                                          Contingent
          1300 Morris Drive                                                     Unliquidated
          Chesterbrook, PA 19087                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 22 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76,437.50
          AMN Healthcare, Inc.                                                  Contingent
          2735 Collection Center Dr.                                            Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $536.93
          Angiodynamics                                                         Contingent
          PO Box 1549                                                           Unliquidated
          Albany, NY 12201-1549                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $540.00
          Applied Medical                                                       Contingent
          PO Box 3511                                                           Unliquidated
          Carol Stream, IL 60132-3511                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $220.00
          Arctic Ice Co.                                                        Contingent
          PO Box 2516                                                           Unliquidated
          Richmond, IN 47375                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food Service Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $135.86
          Armstrong Medical                                                     Contingent
          575 Knightsbridge Pkwy                                                Unliquidated
          PO Box 700                                                            Disputed
          Lincolnshire, IL 60069
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,195.26
          Arrow International, Inc.                                             Contingent
          PO Box 60519                                                          Unliquidated
          Charlotte, NC 28260                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,581.00
          Artec Environmental Monitoring, Inc.                                  Contingent
          8047 Castleton Rd.                                                    Unliquidated
          Indianapolis, IN 46250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 23 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.00
          Ascension Health                                                      Contingent
          PO Box 45998                                                          Unliquidated
          Saint Louis, MO 63145                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,693.90
          Asco Power Services, Inc.                                             Contingent
          PO Box 73473                                                          Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,891.58
          Assured Nursing                                                       Contingent
          7922 E. Edgwood Ave.                                                  Unliquidated
          Indianapolis, IN 46239                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $127.28
          AT&T                                                                  Contingent
          PO Box 5080                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $125.52
          AT&T Business                                                         Contingent
          PO Box 105068                                                         Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,611.16
          Athenahealth, Inc.                                                    Contingent
          PO Box 415615                                                         Unliquidated
          Boston, MA 02241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $167.75
          Atlantic Biologicals                                                  Contingent
          ABC Lockbox                                                           Unliquidated
          PO Box 533014                                                         Disputed
          Atlanta, GA 30353
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 24 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,962.25
          Aureus Radiology, LLC                                                 Contingent
          PO Box 3037                                                           Unliquidated
          Omaha, NE 68103                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,408.30
          Auto Owners Insurance Company                                         Contingent
          PO Box 740312                                                         Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $9.98
          Autozone                                                              Contingent
          PO Box 116067                                                         Unliquidated
          Atlanta, GA 30368                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,664.37
          Avesis                                                                Contingent
          Attn Accounts Receivable                                              Unliquidated
          PO Box 52718                                                          Disputed
          Phoenix, AZ 85072
                                                                             Basis for the claim:    Insurance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,005.00
          Axis Providers, Inc.                                                  Contingent
          11935 Mason Montgomery                                                Unliquidated
          Suite 100                                                             Disputed
          Cincinnati, OH 45249
                                                                             Basis for the claim:    Third Party Staffing Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,117.50
          Aya Healthcare, Inc.                                                  Contingent
          Dept 3519                                                             Unliquidated
          PO Box 123519                                                         Disputed
          Dallas, TX 75312
                                                                             Basis for the claim:    Third Party Staffing Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,375.00
          Bank of New York Mellon                                               Contingent
          Corporate Truste Department                                           Unliquidated
          PO Box 392013                                                         Disputed
          Pittsburgh, PA 15251
                                                                             Basis for the claim:    Trustee Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 8 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 25 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,918.06
          Bard Access Systems, Inc.                                             Contingent
          PO Box 75767                                                          Unliquidated
          Charlotte, NC 28275                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,915.67
          Baxter Healthcare Corp.                                               Contingent
          PO Box 70564                                                          Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $264.03
          Beckman Coulter, Inc.                                                 Contingent
          Dept Ch 10164                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $475.90
          Beekley Medical                                                       Contingent
          One Prestige Lane                                                     Unliquidated
          Bristol, CT 06010                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $264.64
          Benny's Sewer & Drain, Inc.                                           Contingent
          1023 Eastern Ave.                                                     Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,184.83
          Bill Dunbar & Associates                                              Contingent
          2601 Fortune Circle East                                              Unliquidated
          Suite 301A                                                            Disputed
          Indianapolis, IN 46241
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,775.00
          Bio-Med BSC, LLC                                                      Contingent
          PO Box 39259                                                          Unliquidated
          Indianapolis, IN 46239                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 9 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 26 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,126.46
          Bio-Rad Laboratories, Inc.                                            Contingent
          PO Box 849740                                                         Unliquidated
          Los Angeles, CA 90084                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $913.23
          Biodex Medical Systems, Inc.                                          Contingent
          PO Bo x36348                                                          Unliquidated
          Newark, NJ 07188-6348                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,819.79
          Biomerieux, Inc.                                                      Contingent
          PO Box 500308                                                         Unliquidated
          Saint Louis, MO 63150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.00
          Bioteque America, Inc.                                                Contingent
          PO Box 1518                                                           Unliquidated
          Fremont, CA 94538                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $64,124.00
          Blue & Co., LLC                                                       Contingent
          2712 SOlution Center                                                  Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounting services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,816.12
          Boston Scientific Corporation                                         Contingent
          PO Box 951653                                                         Unliquidated
          Dallas, TX 75395                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $151.17
          Briggs Healthcare                                                     Contingent
          4900 University Ave.                                                  Unliquidated
          Suite 200                                                             Disputed
          West Des Moines, IA 50266
                                                                             Basis for the claim:    Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 10 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 27 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,117.80
          Brookville Tire Mart                                                  Contingent
          653 Main Street                                                       Unliquidated
          Brookville, IN 47012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $182.00
          Brunsman Graphic Design Group                                         Contingent
          3207 Iowa Ave                                                         Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Office Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,061.00
          BSC Supply LLC                                                        Contingent
          200 Fifth Ave, Suite 3020                                             Unliquidated
          Waltham, MA 02451                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,138.60
          Burgess Mechanical                                                    Contingent
          12220 S. Eastern Ave                                                  Unliquidated
          Indianapolis, IN 46259                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $135.75
          Cadmet, Inc.                                                          Contingent
          PO Box 24                                                             Unliquidated
          Malvern, PA 19355                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,120.00
          Cain Signs                                                            Contingent
          6363 E. St. Rd. 44                                                    Unliquidated
          Glenwood, IN 46133                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,619.03
          Cancer Carepoint, Inc.                                                Contingent
          17 Executive Park Drive                                               Unliquidated
          Suite 520                                                             Disputed
          Atlanta, GA 30329
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 11 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 28 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,478.07
          Canon Financial Services                                              Contingent
          14904 Collections Center Dr.                                          Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Rental
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $97.63
          Capital One Commercial                                                Contingent
          PO Box 5219                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       0989
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76,247.11
          Caravan Health                                                        Contingent
          PO Box 219285                                                         Unliquidated
          Suite 310                                                             Disputed
          Kansas City, MO 64121
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $285,597.32
          Cardinal Health - 340B                                                Contingent
          PO Box 70539                                                          Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies - 340B
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,456.00
          Cardinal Health Medical                                               Contingent
          PO Box 70539                                                          Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,839.89
          Cardmember Services                                                   Contingent
          P.O. Box 790408                                                       Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $72,230.00
          Carefusion Solutions, Inc.                                            Contingent
          Pyxis Products                                                        Unliquidated
          25082 Network Place                                                   Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Equipment Rental
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 12 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 29 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,599.84
          Carestaff Partners                                                    Contingent
          PO Box 601959                                                         Unliquidated
          Charlotte, NC 28260                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,261.37
          Cariant HealthPartners                                                Contingent
          11623 Arbor Street                                                    Unliquidated
          Omaha, NE 68144                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $121.17
          Carstens                                                              Contingent
          PO Box 99110                                                          Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,629.91
          Catalyst Technology Group, Inc.                                       Contingent
          Dept 781441                                                           Unliquidated
          PO Box 78000                                                          Disputed
          Detroit, MI 48278
                                                                             Basis for the claim:    IT Support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,016.82
          Catapult Healthcare Staffing                                          Contingent
          1820 Preston Park, Ste. 1600                                          Unliquidated
          Plano, TX 75093                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,518.55
          CDW, LLC                                                              Contingent
          Attn Vida Krug                                                        Unliquidated
          200 North Milwaukee Ave.                                              Disputed
          Vernon Hills, IL 60061
                                                                             Basis for the claim:    IT Support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,981.80
          CEI                                                                   Contingent
          2200 Grand Avenue                                                     Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 13 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 30 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,000.00
          Cejka Search, Inc.                                                    Contingent
          PO Box 404682                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Recruitment services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,073.82
          Centurion Medical Products                                            Contingent
          PO Box 842816                                                         Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,011.80
          Centurylink                                                           Contingent
          Attn. Bankruptcy Notices                                              Unliquidated
          100 Centurylink Drive                                                 Disputed
          Monroe, LA 71203
                                                                             Basis for the claim:    Utility Service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,272.27
          CGS Services Inc. - NA                                                Contingent
          PO Box 74008047                                                       Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          Chamber of Commerce                                                   Contingent
          504 N. Central Avenue                                                 Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,201.56
          Change Healthcare                                                     Contingent
          22423 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $216.72
          Chomel & Sons, Inc.                                                   Contingent
          217 E. 6th Street                                                     Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 14 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 31 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,239.87
          CIMA Energy                                                           Contingent
          Attn Collin Chance                                                    Unliquidated
          100 Waugh Drive, Suite 500                                            Disputed
          Houston, TX 77007
                                                                             Basis for the claim:    Utility Service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,132.00
          Claimaid                                                              Contingent
          8141 Zionsville Rd.                                                   Unliquidated
          Indianapolis, IN 46278                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $375.00
          Clarks Eastside Market                                                Contingent
          1449 East 5th Street                                                  Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods Sold
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,925.27
          Clean Harbors Env. Service                                            Contingent
          PO Box 3442                                                           Unliquidated
          Boston, MA 02241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,040.00
          CLIA Laboratory Program                                               Contingent
          PO Box 530882                                                         Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,633.50
          Cline Law Group                                                       Contingent
          50 S. Meridian Street                                                 Unliquidated
          Suite 302                                                             Disputed
          Indianapolis, IN 46204
                                                                             Basis for the claim:    Legal Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          CNA Surety                                                            Contingent
          PO Box 957312                                                         Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 15 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 32 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,406.66
          Colonial Life                                                         Contingent
          Premium Processing                                                    Unliquidated
          PO Box 903                                                            Disputed
          Columbia, SC 29202
                                                                             Basis for the claim:    Insurance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $7.06
          Comcast Cable                                                         Contingent
          PO Box 7500                                                           Unliquidated
          Southeastern, PA 19398                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $144.49
          Compass Health                                                        Contingent
          PO Box 71591                                                          Unliquidated
          Chicago, IL 60694                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,109.67
          Conmed Corp.                                                          Contingent
          Church Street Station                                                 Unliquidated
          PO Box 6814                                                           Disputed
          New York, NY 10249
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,145.29
          Conmed Linvatec                                                       Contingent
          PO Box 301231                                                         Unliquidated
          Dallas, TX 75303                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,645.63
          Connersville News Examiner                                            Contingent
          co Paxton Media Group                                                 Unliquidated
          PO Box 1960                                                           Disputed
          Paducah, KY 42002
                                                                             Basis for the claim:    Marketing/Advertising
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          Connersville Parks & Recreation                                       Contingent
          2900 N. Park Road                                                     Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    ??
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 16 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 33 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,324.00
          Connersville Primary Care Phyisicans                                  Contingent
          6536 Sunny Drive                                                      Unliquidated
          Mason, OH 45040                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Building Rental - Shiv S. Kapoor, M.D.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.00
          Connersville Rotary Club                                              Contingent
          P.O. Box 915                                                          Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,168.92
          Connersville Utilities                                                Contingent
          PO Box 325                                                            Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,112.00
          Convergeone Systems Integration                                       Contingent
          PO Box 207480                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $310.04
          Cook Medical, Inc.                                                    Contingent
          22988 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          Cooper Surgical, Inc.                                                 Contingent
          PO Box 712280                                                         Unliquidated
          Cincinnati, OH 45271                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $166.20
          Cotronix                                                              Contingent
          7387 County Hwy 20                                                    Unliquidated
          Caledonia, MN 55921                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 17 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 34 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,304.59
          Covidien                                                              Contingent
          Department 00 10318                                                   Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $204,298.50
          CPSI                                                                  Contingent
          6600 Wall Street                                                      Unliquidated
          Mobile, AL 36695                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,915.00
          CSI Laboratories                                                      Contingent
          2580 Westside Pkwy                                                    Unliquidated
          Suite 400                                                             Disputed
          Alpharetta, GA 30004
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,354.00
          Curascript SD                                                         Contingent
          d/b/a Curascript Specialty                                            Unliquidated
          PO Box 978510                                                         Disputed
          Dallas, TX 75397
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $144.09
          Custom Ultrasonic, Inc.                                               Contingent
          144 Railroad Drive                                                    Unliquidated
          Warminster, PA 18974                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,771.50
          Cyndi Nesbitt                                                         Contingent
          166 S. Villa Drive                                                    Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchased services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $118,642.60
          Cynet Healthstaff, Inc.                                               Contingent
          43480 Yukon Drive                                                     Unliquidated
          Suite 202                                                             Disputed
          Ashburn, VA 20147
                                                                             Basis for the claim:    Third Party Staffing Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 18 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 35 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $913.00
          Dalmatian Fire, Inc.                                                  Contingent
          5670 W. 73rd Street                                                   Unliquidated
          Indianapolis, IN 46278                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,587.07
          Delta Dental                                                          Contingent
          16172 Collection Center Drive                                         Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee Dental Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,063.47
          Delta Locum Tenens                                                    Contingent
          PO Box 202940                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,500.00
          Delta Physician Placement, LLC                                        Contingent
          PO Box 202940                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Recruitment services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,590.03
          Dex Media                                                             Contingent
          PO Box 619009                                                         Unliquidated
          Dallas, TX 75261                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing/Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,295.00
          Directsource Media                                                    Contingent
          11519 Kingston Pike                                                   Unliquidated
          Knoxville, TN 37934                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $8.00
          Don's Auto Sales                                                      Contingent
          126 W. 2nd Street                                                     Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 19 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 36 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,700.00
          Dr. Zawadski                                                          Contingent
          505 S. Inverness Lane                                                 Unliquidated
          Yorktown, IN 47396                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $92,680.21
          Duke Energy                                                           Contingent
          Attn. Bankruptcy Notices                                              Unliquidated
          526 S. Church Street                                                  Disputed
          Charlotte, NC 28202
                                                                             Basis for the claim:    Utility Service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,636.08
          Duncan Supply Co. Inc.                                                Contingent
          PO Box 441280                                                         Unliquidated
          Indianapolis, IN 46244                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $350.00
          E L Lewis, Inc.                                                       Contingent
          PO Box 427                                                            Unliquidated
          Carrollton, OH 44615                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing/Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $123.55
          E W Brockman Co., Inc.                                                Contingent
          901 W. 18th Street                                                    Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $525.00
          E&J Trailer Sales & Service                                           Contingent
          610 Wayne Park Drive                                                  Unliquidated
          Cincinnati, OH 45215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,180.00
          Earlywine Pest Control, Inc.                                          Contingent
          2234 Boston Pike                                                      Unliquidated
          Richmond, IN 47374                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 20 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 37 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,797.71
          Eastern Alliance Insurance Company                                    Contingent
          Deductible Pyaments Lockbox                                           Unliquidated
          PO Box 8168                                                           Disputed
          Lancaster, PA 17604
                                                                             Basis for the claim:    Insurance
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,327.00
          Eastern Alliance Insurance Group                                      Contingent
          PO Box 206                                                            Unliquidated
          East Petersburg, PA 17520                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $170.63
          Ebsco Information Services                                            Contingent
          PO Box 830625                                                         Unliquidated
          Birmingham, AL 35283                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,135.29
          Electronic Strategies, Inc.                                           Contingent
          6855 Hillsdale Court                                                  Unliquidated
          Indianapolis, IN 46250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $408.00
          Elsevier, Inc. - ARGI                                                 Contingent
          PO Box 9546                                                           Unliquidated
          New York, NY 10087                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,240.00
          Energy System Maintenance, LLC                                        Contingent
          2801 Fortune Circle East                                              Unliquidated
          Suites E&F                                                            Disputed
          Indianapolis, IN 46241
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,948.77
          Entellus Medical, Inc.                                                Contingent
          3600 Holly Lane North                                                 Unliquidated
          Suite 40                                                              Disputed
          Minneapolis, MN 55447
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 21 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 38 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $349.96
          Evoqua Water Technologies, LLC                                        Contingent
          28563 Network Place                                                   Unliquidated
          Chicago, IL 60673-1285                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $206.50
          Fagron                                                                Contingent
          3818 Momentum Place                                                   Unliquidated
          Chicago, IL 60689                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $713,366.81
          Family & Social Services Administration                               Contingent
          PO Box 621007                                                         Unliquidated
          Indianapolis, IN 46262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    FSSA Claim Repayment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $6.00
          Fastenal Company CC                                                   Contingent
          P.O. Box 1286                                                         Unliquidated
          Winona, MN 55987                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,108.00
          Fayette County First Aid Unit                                         Contingent
          PO Box 727                                                            Unliquidated
          Elkhart, IN 46515                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $119.07
          Federal Express Corp                                                  Contingent
          PO Box 94515                                                          Unliquidated
          Palatine, IL 60094                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shipping Expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,382.00
          First Financial Corp. Leasing                                         Contingent
          Dept #2067                                                            Unliquidated
          PO Box 87618                                                          Disputed
          Chicago, IL 60680
                                                                             Basis for the claim:    Equipment Rental
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 22 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 39 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,763.17
          Fisher Scientific                                                     Contingent
          13551 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number       0001
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,515.96
          Forbes Medical Transcription                                          Contingent
          1941 Virginia Avenue                                                  Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,499.70
          FP&C Consultants KC, LLC                                              Contingent
          1330 Burlington Street                                                Unliquidated
          Suite 200                                                             Disputed
          Kansas City, MO 64116
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,010.36
          FRHS Auxiliary                                                        Contingent
          1941 Virginia Avenue                                                  Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $600.00
          FRHS Foundation                                                       Contingent
          1941 Virginia Avenue                                                  Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,274.29
          Frontier                                                              Contingent
          PO Box 740407                                                         Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,167.00
          Fujifilm Medical Systems U.S.A.                                       Contingent
          PO Box 347689                                                         Unliquidated
          Pittsburgh, PA 15251                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 23 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 40 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,811.18
          Gabor Tolnay MD PC                                                    Contingent
          319 Pinetree Lane                                                     Unliquidated
          Richmond, IN 47374                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,472.62
          GE Healthcare                                                         Contingent
          PO Box 640200                                                         Unliquidated
          Pittsburgh, PA 15264                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Genset Service, LLC                                                   Contingent
          13749 Townshipline Rd.                                                Unliquidated
          Vevay, IN 47043                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $808.83
          Getinge USA Sales, LLC                                                Contingent
          PO Box 775436                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,106.11
          Gilman Do It Best Home Center                                         Contingent
          1162 Tekulve Rd.                                                      Unliquidated
          Batesville, IN 47006                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $380.31
          Global Equipment Company                                              Contingent
          29833 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $858.19
          Goughs Auto Care & Tire Center                                        Contingent
          600 Western Avenue                                                    Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 24 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 41 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,214.72
          Grainger                                                              Contingent
          Dept 804490704                                                        Unliquidated
          Palatine, IL 60038                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $638.40
          Greer Laboratories, Inc.                                              Contingent
          PO Box 603081                                                         Unliquidated
          Charlotte, NC 28260                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,952.50
          Griffin Healthcare Services, LLC                                      Contingent
          1316 SW Sandalwood Cover                                              Unliquidated
          Port Saint Lucie, FL 34986                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,272.00
          Haemonetics Corporation                                               Contingent
          24849 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,271.00
          Hall Render Killian Heath & Lyman                                     Contingent
          500 N. Meridian Street                                                Unliquidated
          Suite 400                                                             Disputed
          Indianapolis, IN 46204-1293
                                                                             Basis for the claim:    Legal Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $244.70
          Hall's Appliance                                                      Contingent
          622 Central Avenue                                                    Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,496.00
          Havel                                                                 Contingent
          P.O. Box 1287                                                         Unliquidated
          Fort Wayne, IN 46801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 25 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 42 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $91.56
          HD Supply                                                             Contingent
          P.O. Box 509058                                                       Unliquidated
          San Diego, CA 92150                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $260.13
          Health Care Logistics, Inc.                                           Contingent
          PO Box 400                                                            Unliquidated
          Circleville, OH 43113                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,434.22
          Health Carousel LLC                                                   Contingent
          PO Box 714216                                                         Unliquidated
          Cincinnati, OH 45271                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $136.82
          Healthmark Industries Co., Inc.                                       Contingent
          Dept 7058                                                             Unliquidated
          PO Box 30516                                                          Disputed
          Lansing, MI 48909-8016
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          HFAP                                                                  Contingent
          142 East Ontario Street                                               Unliquidated
          Chicago, IL 60611                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,750.91
          Hill-Rom                                                              Contingent
          PO Box 643592                                                         Unliquidated
          Pittsburgh, PA 15264                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $9.66
          Hinckley Springs Water Co.                                            Contingent
          PO Box 660579                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food Service Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 26 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 43 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $375.00
          HML, Inc.                                                             Contingent
          912 W. McGalliard Rd.                                                 Unliquidated
          Muncie, IN 47303                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,436.15
          Hologic, I nc.                                                        Contingent
          24506 Network Place                                                   Unliquidated
          Chicago, IL 60673-1245                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $125,667.61
          Horizon Health                                                        Contingent
          1965 Lakepointe Dr., Ste 100                                          Unliquidated
          Lewisville, TX 75057                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $301.66
          HP Products, Inc.                                                     Contingent
          PO Box 68310                                                          Unliquidated
          Indianapolis, IN 46268                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,675.62
          Hydronic & Steam Equpiment, Inc.                                      Contingent
          P.O. Box 1937                                                         Unliquidated
          Dept. 139                                                             Disputed
          Indianapolis, IN 46206
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $625.00
          IARCA                                                                 Contingent
          5519 E. 82nd Street                                                   Unliquidated
          Suite A                                                               Disputed
          Indianapolis, IN 46250
                                                                             Basis for the claim:    Dues
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          IGA Plus Connersville                                                 Contingent
          1508 Virginia Ave.                                                    Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food Service Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 27 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 44 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $559.40
          Immucor, Inc.                                                         Contingent
          PO Box 102118                                                         Unliquidated
          Atlanta, GA 30368                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,272.00
          Indiana Blood Center                                                  Contingent
          3848 Solutions Center                                                 Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $120.00
          Indiana Dept of Homeland Security                                     Contingent
          Fiscal Department                                                     Unliquidated
          302 W. Washington Street                                              Disputed
          Indianapolis, IN 46204
                                                                             Basis for the claim:    Building Expenses
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,190.00
          Indiana Health Information Exchange                                   Contingent
          846 N. Senate Ave                                                     Unliquidated
          Suite 300                                                             Disputed
          Indianapolis, IN 46202
                                                                             Basis for the claim:    IT Support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Indiana Hospital Association                                          Contingent
          500 N. Meridian Street                                                Unliquidated
          Ste 250                                                               Disputed
          Indianapolis, IN 46204
                                                                             Basis for the claim:    Dues
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,902.00
          Indiana Motor Lodge of Columbus                                       Contingent
          DBA Sprague Outdoor                                                   Unliquidated
          PO Box 508                                                            Disputed
          Columbus, IN 47202
                                                                             Basis for the claim:    Marketing/Advertising
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $339.63
          Indiana Paging Network, Inc.                                          Contingent
          6745 W. Johnson Rd.                                                   Unliquidated
          La Porte, IN 46350                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 28 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 45 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,420.00
          Indiana Poison Center                                                 Contingent
          IU Health Methodist Hospital                                          Unliquidated
          1701 N. Senate Blvd.                                                  Disputed
          Indianapolis, IN 46202
                                                                             Basis for the claim:    Dues
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,000.00
          Indiana Rural Health Association                                      Contingent
          2901 Ohio Boulevard                                                   Unliquidated
          Ste. 240                                                              Disputed
          Terre Haute, IN 47803
                                                                             Basis for the claim:    Dues
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          Indiana University                                                    Contingent
          IU Conferences                                                        Unliquidated
          PO Box 6212                                                           Disputed
          Indianapolis, IN 46206-6212
                                                                             Basis for the claim:    Dues
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,990.00
          Indiana University-Purdue University                                  Contingent
          Dept 78920                                                            Unliquidated
          PO Box 78000                                                          Disputed
          Detroit, MI 48278
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Infectious Disease of Indiana                                         Contingent
          11455 North Meridian Street                                           Unliquidated
          Ste. 200                                                              Disputed
          Carmel, IN 46032
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $465.50
          Injoy                                                                 Contingent
          7107 La Vista Place                                                   Unliquidated
          Longmont, CO 80503                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $263.68
          Integra Life Sciences                                                 Contingent
          PO Box 404129                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 29 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 46 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $252.00
          Iscreen Vision, Inc.                                                  Contingent
          110 Timber Creek Drive                                                Unliquidated
          Cordova, TN 38018                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,064.00
          Jackson Nurse Professionals                                           Contingent
          PO Box 404118                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,730.92
          Jackson Physician Search, LLC                                         Contingent
          2655 Northwinds Parkway                                               Unliquidated
          Alpharetta, GA 30009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Recruitment services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,364.15
          Joe Webster, MS, DABR                                                 Contingent
          10832 Silver Charm Ln.                                                Unliquidated
          Union, KY 41091                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78,971.47
          Johnson Controls, Inc.                                                Contingent
          P.O. Box 730068                                                       Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,270.95
          JRT Associates                                                        Contingent
          5 Nepperhan Avenue                                                    Unliquidated
          Suite B                                                               Disputed
          Elmsford, NY 10523
                                                                             Basis for the claim:    Equipment Rental
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,739.80
          Jules & Associates                                                    Contingent
          Accounts Receivable                                                   Unliquidated
          515 S. Figueroa Street                                                Disputed
          Los Angeles, CA 90071
                                                                             Basis for the claim:    Equipment Rental
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 30 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 47 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.47
          Karl Storz Endoscopy Amer. Inc.                                       Contingent
          File No. 53514                                                        Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,880.18
          KCI USA                                                               Contingent
          PO Box 301557                                                         Unliquidated
          Dallas, TX 75303                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $844.78
          Kediron Biopharma, Inc.                                               Contingent
          PO Box 21573                                                          Unliquidated
          New York, NY 10087                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,307.50
          Kicks 96                                                              Contingent
          PO Box 1647                                                           Unliquidated
          Richmond, IN 47375                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing/Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,200.00
          King Lawn Service                                                     Contingent
          1155 S. Salem Rd.                                                     Unliquidated
          Liberty, IN 47353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,837.18
          Kirby Risk Corporation                                                Contingent
          27561 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.00
          Kiwanis Club of Connersville                                          Contingent
          PO Box 327                                                            Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 31 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 48 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,968.61
          Klosterman Baking Company                                             Contingent
          PO Box 712572                                                         Unliquidated
          Cincinnati, OH 45271                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food Service Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,471.93
          Koorsen                                                               Contingent
          2719 N. Arlington Avenue                                              Unliquidated
          Indianapolis, IN 46218                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $180.00
          KRS Global Biotechnology, Inc.                                        Contingent
          791 Park of Commerce Blvd.                                            Unliquidated
          Suite 600                                                             Disputed
          Boca Raton, FL 33487
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,194.35
          Lab Corp of America                                                   Contingent
          PO Box 12140                                                          Unliquidated
          Burlington, NC 27216                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $64.25
          Lainharts Watercare                                                   Contingent
          701 N. Eastern Ave.                                                   Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $842.91
          Landauer, Inc.                                                        Contingent
          PO Box 809051                                                         Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,562.25
          Lantheus Medical Imaging                                              Contingent
          PO Box 101236                                                         Unliquidated
          Atlanta, GA 30392                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 32 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 49 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $84.50
          Leco Corporation                                                      Contingent
          3000 Lakeview Avenue                                                  Unliquidated
          Saint Joseph, MI 49085-2319                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $571.29
          Leica Microsystems, Inc.                                              Contingent
          14008 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,352.80
          Lewis & Kappes, PC                                                    Contingent
          One American Square                                                   Unliquidated
          Ste. 2500                                                             Disputed
          Indianapolis, IN 46282
                                                                             Basis for the claim:    Legal Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,142.40
          Lilagraphics Printing & Sign                                          Contingent
          PO Box 13129                                                          Unliquidated
          Atlanta, GA 30324                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Office Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,661.90
          Linde Gas North America, LLC                                          Contingent
          88222 Expedite Way                                                    Unliquidated
          Chicago, IL 60695                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rental agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          Lingg Welding Company                                                 Contingent
          711 S. Casteel Rd.                                                    Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $805.00
          Liquidagents Healthcare, LLC                                          Contingent
          PO Box 206831                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 33 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 50 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,031.75
          Locumtenens.com                                                       Contingent
          Attn Adwoa Awotwi                                                     Unliquidated
          2655 Northwinds Parkway                                               Disputed
          Alpharetta, GA 30009
                                                                             Basis for the claim:    Third Party Staffing Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.64
          Lowe's                                                                Contingent
          P.O. Box 530954                                                       Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $114,321.85
          Macro Helix                                                           Contingent
          2 National Data Plaza NE                                              Unliquidated
          Atlanta, GA 30329                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,094.00
          Maine Standards                                                       Contingent
          221 US Route 1                                                        Unliquidated
          Cumberland Foreside, ME 04110                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $117,250.00
          Manta Resources, Inc.                                                 Contingent
          15229 Herriman Blvd.                                                  Unliquidated
          Noblesville, IN 46060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Recruitment services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.35
          Mar-Med                                                               Contingent
          PO Box 6483                                                           Unliquidated
          Grand Rapids, MI 49516                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,272.50
          Mardon Equipment Corp.                                                Contingent
          939 W. Troy Ave.                                                      Unliquidated
          Indianapolis, IN 46225                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 34 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 51 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $378.44
          Marketlab, Inc.                                                       Contingent
          Dept 2506                                                             Unliquidated
          PO Box 11407                                                          Disputed
          Birmingham, AL 35246
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,979.17
          MassMutual Retirement Services                                        Contingent
          P.O. Box 219062                                                       Unliquidated
          Kansas City, MO 64121                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Benefits
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,564.00
          Maxim Healthcare Services                                             Contingent
          13877 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,036.20
          McFarling Foods, Inc.                                                 Contingent
          PO Box 1373                                                           Unliquidated
          Richmond, IN 47375                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food Service Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,930.99
          MCG Health LLC                                                        Contingent
          PO Box 742350                                                         Unliquidated
          Atlanta, GA 30374                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $78.89
          McGowan Enterprises, Inc.                                             Contingent
          d/b/a Acute Care Pharmaceuticals                                      Unliquidated
          12225 World Trade Dr., Suite A                                        Disputed
          San Diego, CA 92128
                                                                             Basis for the claim:    Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $401.16
          MCI Comm Service                                                      Contingent
          PO Box 15043                                                          Unliquidated
          Albany, NY 12212                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 35 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 52 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $63,688.52
          McKesson Medical-Surgical                                             Contingent
          PO Box 634404                                                         Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,372.59
          McKesson Specialty                                                    Contingent
          15212 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $220.80
          McRoberts Security Technologies                                       Contingent
          409 Joyce Kilmer Ave,                                                 Unliquidated
          Suite 307                                                             Disputed
          New Brunswick, NJ 08901
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $200.48
          Med Alliance, Inc.                                                    Contingent
          2175 Oakland Drive                                                    Unliquidated
          Sycamore, IL 60178                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $17.15
          Medco Supply Company                                                  Contingent
          21773 Network Place                                                   Unliquidated
          Chicago, IL 60673-1217                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.03
          Medi-Dose, Inc.                                                       Contingent
          PO Box 238                                                            Unliquidated
          Jamison, PA 18929                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number       5083
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,606.07
          Medical Hospitalists, LLC                                             Contingent
          155 E. Market Street                                                  Unliquidated
          Suite 700                                                             Disputed
          Indianapolis, IN 46204
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 36 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 53 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,793.75
          Medical Physics Consultants, Inc.                                     Contingent
          214 East Huron Street                                                 Unliquidated
          Ann Arbor, MI 48104                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,405.00
          Medical Staffing Solutions, Inc.                                      Contingent
          9700 Highway 57 North                                                 Unliquidated
          Suite A                                                               Disputed
          Evansville, IN 47725
                                                                             Basis for the claim:    Third Party Staffing Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $650.82
          Medicenter Alternate Care Pharmacy                                    Contingent
          100 N. Foote Street                                                   Unliquidated
          Cambridge City, IN 47327                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,965.00
          Medicomp, Inc.                                                        Contingent
          PO Box 117110                                                         Unliquidated
          Atlanta, GA 30368                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $87,155.51
          Medicus Locum Services, Inc.                                          Contingent
          22 Roulston Rd.                                                       Unliquidated
          Windham, NH 03087                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $154,078.43
          Medline Industries, Inc.                                              Contingent
          Dept Ch. 14400                                                        Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.00
          Medsource Consultants                                                 Contingent
          300 Main Street                                                       Unliquidated
          6th Floor                                                             Disputed
          Stamford, CT 06901
                                                                             Basis for the claim:    Recruitment services.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 37 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 54 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,753.90
          Medtox Laboratories, Inc.                                             Contingent
          PO Box 8107                                                           Unliquidated
          Burlington, NC 27216                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $475.80
          Medtronic USA                                                         Contingent
          4642 Collection Center Drive                                          Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $126.04
          Mercury Medical                                                       Contingent
          PO Box 17009                                                          Unliquidated
          Clearwater, FL 33762                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,787.19
          Meridian Bioscence Corp.                                              Contingent
          PO Box 630224                                                         Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $234.00
          Merit Medical                                                         Contingent
          PO Box 204842                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,605.92
          Merritt Hawkins & Associates                                          Contingent
          PO Box 281943                                                         Unliquidated
          Atlanta, GA 30384-1943                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Recruitment Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $298.08
          Metronet                                                              Contingent
          PO Box 630546                                                         Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 38 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 55 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $376.32
          MH Equipment Company                                                  Contingent
          #774469                                                               Unliquidated
          4469 Solutions Circle                                                 Disputed
          Chicago, IL 60677
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $18.86
          Michael Brockman                                                      Contingent
          1835 W. Country Club Rd.                                              Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $27.55
          Mid America Clinical Labs                                             Contingent
          866704 Reliable Parkway                                               Unliquidated
          Chicago, IL 60686                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,694.71
          Mid America Elevator                                                  Contingent
          1116 E. Market Street                                                 Unliquidated
          Indianapolis, IN 46202                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,640.00
          Minerva Surgical, Inc.                                                Contingent
          101 Saginal Drive                                                     Unliquidated
          Redwood City, CA 94063                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $62,000.00
          ML Management/Cain Bros.                                              Contingent
          601 California Street, Ste. 1505                                      Unliquidated
          San Francisco, CA 94108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investment banking services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,509.72
          Modern Office Methods, Inc.                                           Contingent
          4747 Lake Forsest Drive                                               Unliquidated
          Cincinnati, OH 45242                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Rental
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 39 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 56 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $550.55
          Mood Media                                                            Contingent
          PO Box 71070                                                          Unliquidated
          Charlotte, NC 28272                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,151.48
          Mortara Instruments                                                   Contingent
          7865 N. 86th Street                                                   Unliquidated
          Milwaukee, WI 53224                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $277.31
          Motion Industries, Inc.                                               Contingent
          P.O. Box 98412                                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $262.08
          Narcotics Anonymous World Services                                    Contingent
          19737 Nordhoff Place                                                  Unliquidated
          Chatsworth, CA 91311                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,350.00
          Nashville Surgical Instruments                                        Contingent
          2005 Kumar Lane                                                       Unliquidated
          Springfield, TN 37172                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $297.45
          National Employment Screening                                         Contingent
          PO Box 9718                                                           Unliquidated
          Tavernier, FL 33070                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Recruitment services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $255.47
          Natus Medical Incorporated                                            Contingent
          PO Box 3604                                                           Unliquidated
          Carol Stream, IL 60132-3604                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 40 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 57 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $189.74
          NCS Pearson, Inc.                                                     Contingent
          13036 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,309.94
          Net Revenue Associates                                                Contingent
          1330 Corporate Drive                                                  Unliquidated
          Suite 100                                                             Disputed
          Hudson, OH 44236
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,209.74
          Network Services Company                                              Contingent
          29060 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $138,354.00
          Nevro Corporation                                                     Contingent
          4040 Campbell Ave #210                                                Unliquidated
          Menlo Park, CA 94025                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $153,742.98
          Nextgen Healthcare                                                    Contingent
          Quality Systems, Inc.                                                 Unliquidated
          PO Box 809390                                                         Disputed
          Chicago, IL 60680
                                                                             Basis for the claim:    IT Support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $80.00
          Nichols Refrigeration                                                 Contingent
          2016 N. Park Rd.                                                      Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,270.40
          Norix Group, Inc.                                                     Contingent
          1800 W. Hawthorne Lane                                                Unliquidated
          Suite N                                                               Disputed
          West Chicago, IL 60185
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 41 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 58 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,652.63
          North Mechanical Services, Inc.                                       Contingent
          2627 North Emerson                                                    Unliquidated
          Indianapolis, IN 46218                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $106,503.15
          Northwest Radiology Network                                           Contingent
          Attn. Patty Dearing                                                   Unliquidated
          5901 Technology Center Drive                                          Disputed
          Indianapolis, IN 46278
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,165.00
          Novarad                                                               Contingent
          752 E. 1180 South                                                     Unliquidated
          Suite 200                                                             Disputed
          American Fork, UT 84003
                                                                             Basis for the claim:    Equipment
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,654.04
          Novarad Corporation                                                   Contingent
          752 E. 1180 S.                                                        Unliquidated
          #200                                                                  Disputed
          American Fork, UT 84003
                                                                             Basis for the claim:    Subscription
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,000.00
          NP Now, LLC                                                           Contingent
          746B Saint Andrews Blvd.                                              Unliquidated
          Charleston, SC 29407                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Recruitment services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,979.19
          NThrive, Inc.                                                         Contingent
          PO Box 733492                                                         Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    IT Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,000.00
          Obix Perinatal Data System                                            Contingent
          715 Tolgate Rd., Ste. H                                               Unliquidated
          Elgin, IL 60123                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 42 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 59 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $102,687.95
          Office Three Sixty, Inc. (fka Rosa's)                                 Contingent
          7301 Woodland Drive                                                   Unliquidated
          Indianapolis, IN 46278                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Office Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,895.43
          Ohio Valley Gas Co.                                                   Contingent
          535 Eastern Ave.,                                                     Unliquidated
          PO Box 445                                                            Disputed
          Connersville, IN 47331
                                                                             Basis for the claim:    Utility Service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $541.71
          Olympus America                                                       Contingent
          PO Box 200194                                                         Unliquidated
          Pittsburgh, PA 15251                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,476.00
          Opusing, LLC                                                          Contingent
          PO Box 26470                                                          Unliquidated
          San Francisco, CA 94126                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Opys Holdings, Inc.                                                   Contingent
          155 E. Market Street, Ste. 700
                                                                                Unliquidated
          Indianapolis, IN 46204
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Staffing services.
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,979.91
          Orchard Software Corporation                                          Contingent
          701 Congressional Blvd.                                               Unliquidated
          Suite 360                                                             Disputed
          Carmel, IN 46032
                                                                             Basis for the claim:    Subscription
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $198,322.48
          ORS, Inc.                                                             Contingent
          13578 E. 131st Street, Ste 220                                        Unliquidated
          Fishers, IN 46037
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 43 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 60 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,422.56
          Ortho-Clinical Diagnostics                                            Contingent
          PO Box 3655                                                           Unliquidated
          Carol Stream, IL 60132                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $232,798.63
          Osman Clinic & Assoc.                                                 Contingent
          3307 W. 96th Street                                                   Unliquidated
          Indianapolis, IN 46268                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $426.47
          Overhead Door Co. of Indianapolis                                     Contingent
          PO Box 50648                                                          Unliquidated
          Indianapolis, IN 46250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          P4:6 Courier Service                                                  Contingent
          329 N. Walnut Street                                                  Unliquidated
          Cambridge City, IN 47327                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Courier Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,518.95
          Palm Harbor Medical, Inc.                                             Contingent
          3015 Ridgeline Blvd.                                                  Unliquidated
          Tarpon Springs, FL 34688                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $127.70
          PartsSource, Inc.                                                     Contingent
          PO Box 645186                                                         Unliquidated
          Cincinnati, OH 45264                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $278.37
          Patient 1                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 44 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 61 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $37.09
          Patient 10                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $5.94
          Patient 11                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $75.00
          Patient 12                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          Patient 13                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $30.36
          Patient 14                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $264.00
          Patient 15                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $11.88
          Patient 16                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 45 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 62 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $145.50
          Patient 17                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,676.49
          Patient 18                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Patient 19                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $24.70
          Patient 2                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $35.59
          Patient 20                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $137.37
          Patient 21                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $137.37
          Patient 22                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 46 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 63 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $125.00
          Patient 23                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.27
          Patient 24                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $19.94
          Patient 25                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $48.86
          Patient 26                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $18.86
          Patient 27                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $243.89
          Patient 28                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $61.00
          Patient 29                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 47 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 64 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.92
          Patient 3                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,321.00
          Patient 30                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $55.00
          Patient 31                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $19.94
          Patient 32                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $74.73
          Patient 33                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $41.20
          Patient 34                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $371.31
          Patient 35                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 48 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 65 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,000.50
          Patient 36                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.01
          Patient 37                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,400.00
          Patient 38                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.47
          Patient 39                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.00
          Patient 4                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $29.00
          Patient 40                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Patient 40                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Alleged personal injury claim.
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 49 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 66 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $190.80
          Patient 41                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          Patient 42                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $12.93
          Patient 43                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $408.68
          Patient 44                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          Patient 45                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $190.00
          Patient 46                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $28.71
          Patient 47                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 50 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 67 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.50
          Patient 48                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $62.17
          Patient 49                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          Patient 5                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,238.00
          Patient 50                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.31
          Patient 51                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,131.00
          Patient 52                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $270.00
          Patient 53                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 51 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 68 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $390.92
          Patient 54                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $35.94
          Patient 55                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $342.84
          Patient 56                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $138.00
          Patient 57                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $102.91
          Patient 58                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.00
          Patient 59                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $551.23
          Patient 6                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 52 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 69 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $5.00
          Patient 60                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $75.76
          Patient 61                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $180.00
          Patient 62                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $8.51
          Patient 63                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Patient 64                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $370.46
          Patient 65                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.50
          Patient 66                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 53 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 70 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $18.86
          Patient 67                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.50
          Patient 68                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $910.00
          Patient 69                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $18.86
          Patient 7                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $316.06
          Patient 70                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $36.55
          Patient 71                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $125.00
          Patient 72                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 54 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 71 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $94.00
          Patient 73                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $119.88
          Patient 74                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.02
          Patient 75                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $370.39
          Patient 76                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $117.52
          Patient 77                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $48.63
          Patient 78                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $18.21
          Patient 79                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 55 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 72 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $13.10
          Patient 8                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.00
          Patient 80                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $28.14
          Patient 81                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.00
          Patient 82                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $120.92
          Patient 83                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Patient 84                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.00
          Patient 85                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 56 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 73 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.00
          Patient 86                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $16.00
          Patient 87                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $5.00
          Patient 88                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $134.40
          Patient 89                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,692.39
          Patient 9                                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $39.96
          Patient 90                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $35.13
          Patient 91                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 57 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 74 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.00
          Patient 92                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $99.35
          Patient 93                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $97.70
          Patient 94                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $195.00
          Patient 95                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $48.63
          Patient 96                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $1.30
          Patient 97                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $8.51
          Patient 98                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Patient Refund
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 58 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 75 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $527.18
          PDC                                                                   Contingent
          PO Box 71549                                                          Unliquidated
          Chicago, IL 60694                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,804.76
          Pepsi Beverages Company                                               Contingent
          Lockbox #759488                                                       Unliquidated
          Chicago, IL 60675                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food Service Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $240.12
          Performance Health Supply, Inc.                                       Contingent
          PO Box 93040                                                          Unliquidated
          Chicago, IL 60673-3040                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,040.13
          Pharmedium Services LLC                                               Contingent
          29104 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $115,462.55
          Philips Healthcare                                                    Contingent
          PO Box 100355                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,466.63
          Philips Medical Capital                                               Contingent
          PO Box 92449                                                          Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Rental
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,650.00
          Physicians Review Organization                                        Contingent
          120 West Saginaw Street                                               Unliquidated
          East Lansing, MI 48823                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 59 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 76 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,133.85
          Pitney Bowes Global Financial Services                                Contingent
          PO Box 371887                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shipping Expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,099.04
          Pitney Bowes Purchase Power                                           Contingent
          PO Box 371874                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shipping Expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $73.90
          Platinum Code                                                         Contingent
          8095 215th Street West                                                Unliquidated
          Lakeville, MN 55044                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $235.86
          Pools R Fun                                                           Contingent
          330 West 30th Street                                                  Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,403.50
          Porter Advertising LLC                                                Contingent
          PO Box 1152                                                           Unliquidated
          Richmond, IN 47375                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing/Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,738.25
          Powell's Plumbing & Electric, Inc.                                    Contingent
          250 E. 11th Street                                                    Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $185.50
          Precision Controls                                                    Contingent
          PO Box 1287                                                           Unliquidated
          Fort Wayne, IN 46801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 60 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 77 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $98.37
          Precision Medical                                                     Contingent
          300 Held Drive                                                        Unliquidated
          Northampton, PA 18067                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,454.07
          Premium Assignment Corporation                                        Contingent
          PO Box 8000                                                           Unliquidated
          Tallahassee, FL 32314                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $90,290.00
          Prime Time Healthcare LLC                                             Contingent
          RN Dividion                                                           Unliquidated
          PO Box 3544                                                           Disputed
          Omaha, NE 68103
                                                                             Basis for the claim:    Third Party Staffing Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,867.56
          Professional Research Consultants, Inc.                               Contingent
          11326 P Street                                                        Unliquidated
          Omaha, NE 68137                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing/Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,758.50
          Progressive Medical, Inc.                                             Contingent
          PO Box 771410                                                         Unliquidated
          Saint Louis, MO 63177                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $362.83
          Queset Medical, Inc.                                                  Contingent
          PO Box 1287                                                           Unliquidated
          Brockton, MA 02303                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $360.00
          Quotient Biodiagnostics                                               Contingent
          Lockbox #H785792                                                      Unliquidated
          PO Box 785792                                                         Disputed
          Philadelphia, PA 19178
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 61 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 78 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,836.00
          R & D Systems, Inc.                                                   Contingent
          614 McKinley Place NE                                                 Unliquidated
          Minneapolis, MN 55413                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.00
          R. Matthew Reed                                                       Contingent
          617 E. Tulip Lane                                                     Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,407.00
          Radiometer America, Inc.                                              Contingent
          13217 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,174.50
          Randstad Healthcare                                                   Contingent
          13792 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $650.00
          Recondo                                                               Contingent
          7900 E. Union Avenue                                                  Unliquidated
          Suite 400                                                             Disputed
          Denver, CO 80237
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,963.42
          Reid Health Pharmacy                                                  Contingent
          1100 Reid Parkway                                                     Unliquidated
          Richmond, IN 47374                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $62,751.25
          Renovo Solutions, LLC                                                 Contingent
          4 Executive Circle                                                    Unliquidated
          Suite 185                                                             Disputed
          Irvine, CA 92614
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 62 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 79 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $599.02
          Resmed                                                                Contingent
          PO Box 534593                                                         Unliquidated
          Atlanta, GA 30353-4593                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $439,953.00
          Resource Anesthesiology Associates of IN                              Contingent
          450 Mamaroneck Ave                                                    Unliquidated
          Suite 201                                                             Disputed
          Harrison, NY 10528
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,857.16
          Respironics                                                           Contingent
          PO Box 405740                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,300.00
          RFXCEL Corporation                                                    Contingent
          12667 Alcosta Blvd.                                                   Unliquidated
          Suite 375                                                             Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:    Subscription
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $340.00
          Rieman's Flower Shop                                                  Contingent
          1224 Grand Avenue                                                     Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods Sold
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,000.00
          RN Network                                                            Contingent
          PO Box 974088                                                         Unliquidated
          Dallas, TX 75397                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,668.60
          Robert Dietrick Co.                                                   Contingent
          9051 Technology Drive                                                 Unliquidated
          Fishers, IN 46038                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 63 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 80 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,068.38
          Rolls Royce                                                           Contingent
          PO Box 1831                                                           Unliquidated
          Grand Rapids, MI 49501                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76,500.00
          RPS Imaging                                                           Contingent
          1815 Washington Street                                                Unliquidated
          Michigan City, IN 46360                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $859.90
          RTM Consultants, Inc.                                                 Contingent
          6640 Parkdale Place                                                   Unliquidated
          Suite J                                                               Disputed
          Indianapolis, IN 46254
                                                                             Basis for the claim:    Third Party Staffing Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,998.00
          Rush Memorial Hospital                                                Contingent
          1300 N. Main Street                                                   Unliquidated
          PO Box 608                                                            Disputed
          Rushville, IN 46173
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sage Services Group, LLC                                              Contingent
          506 Deanna Lane                                                       Unliquidated
          Charleston, SC 29492                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,997.50
          Sanofi Pasteur, Inc.                                                  Contingent
          12548 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,800.63
          Scottcare Corporation                                                 Contingent
          c/o Scott Fetzer                                                      Unliquidated
          PNC Bank PO Box 73790-N                                               Disputed
          Cleveland, OH 44193
                                                                             Basis for the claim:    Equipment Support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 64 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 81 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $361.79
          Serim Research Corp.                                                  Contingent
          3506 Reedy Drive                                                      Unliquidated
          Elkhart, IN 46514                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,920.00
          Shared Medical Services, Inc.                                         Contingent
          209 Limestone Pass                                                    Unliquidated
          Cottage Grove, WI 53527                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $403.51
          Sherwin Williams Co.                                                  Contingent
          114 W. 30th Street                                                    Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $377.75
          Shred-It USA                                                          Contingent
          2883 Network Place                                                    Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,268.35
          Siemens Medical Solutions USA                                         Contingent
          PO Box 120001                                                         Unliquidated
          Dept 0733                                                             Disputed
          Dallas, TX 75312
                                                                             Basis for the claim:    Equipment Rental
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $920.00
          SIHO Insurance Services                                               Contingent
          417 Washington Street                                                 Unliquidated
          Columbus, IN 47201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee Health Insurance (Admin Fees)
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $774,798.01
          SIHO Insurance Services                                               Contingent
          417 Washington Street                                                 Unliquidated
          Columbus, IN 47201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee Health Insurance (Self-Insured Claims
          Last 4 digits of account number                                    Obligations)
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 65 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 82 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Siskin Physicians, LLC                                                Contingent
          155 E. Market Street                                                  Unliquidated
          Suite 700
          Indianapolis, IN 46204                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Services Provided
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $127.89
          Smilemakers                                                           Contingent
          PO Box 2543                                                           Unliquidated
          Spartanburg, SC 29304                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,557.83
          Smiths Medical ASD, Inc.                                              Contingent
          PO Box 7247-7784                                                      Unliquidated
          Philadelphia, PA 19170                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,174.23
          Soliant Health                                                        Contingent
          Dept Ch 14430                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,943.40
          South Bend Medical Foundation                                         Contingent
          PO Box 2030                                                           Unliquidated
          Mishawaka, IN 46546                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $983.77
          Southside Heating Supply Co.                                          Contingent
          1441 S. 9th Street                                                    Unliquidated
          P.O. Box 279                                                          Disputed
          Richmond, IN 47375
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,264.91
          Spok, Inc.                                                            Contingent
          PO Box 660324                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 66 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 83 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,717.26
          Standard Textile                                                      Contingent
          PO Box 630302                                                         Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,321.75
          Stanley Convergent Security Solutions                                 Contingent
          Dept. CH 10651                                                        Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,870.55
          Stearns Supply Center                                                 Contingent
          P.O. Box 88                                                           Unliquidated
          North Vernon, IN 47265                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,001.93
          Stericycle, Inc.                                                      Contingent
          PO Box 6575                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $803.25
          Steris Corporation                                                    Contingent
          Lockbox 771652                                                        Unliquidated
          1652 Solutions Center                                                 Disputed
          Chicago, IL 60677
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,217.50
          Sterling Staffing Group                                               Contingent
          411 Oak Street, 3rd Floor                                             Unliquidated
          Cincinnati, OH 45219                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $550.00
          Streck, Inc.                                                          Contingent
          PO Box 45625                                                          Unliquidated
          Omaha, NE 68145                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 67 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 84 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,436.88
          Stryker Sales Corp.                                                   Contingent
          PO Box 70119                                                          Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,200.55
          Stryker Sales Corp. - Endo                                            Contingent
          PO Box 93276                                                          Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $179.75
          Subscriber Renewals                                                   Contingent
          PO Box 1960                                                           Unliquidated
          Paducah, KY 42002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,786.50
          Sunbelt staffing                                                      Contingent
          Dept Ch 14430                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $805.58
          Superfleet                                                            Contingent
          P.O. Box 70995                                                        Unliquidated
          Charlotte, NC 28272                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77,170.00
          Supplemental Health Care                                              Contingent
          PO Box 677896                                                         Unliquidated
          Dallas, TX 75267                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $537.46
          Supplyworks                                                           Contingent
          P.O. Box 404284                                                       Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 68 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 85 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,964.87
          Surgical Product Solutions                                            Contingent
          643 First Avenue, Suite 200                                           Unliquidated
          Pittsburgh, PA 15219                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,000.00
          Sysmex                                                                Contingent
          28241 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $454.93
          Tech Electronics & Communication                                      Contingent
          319 N. 5th Street                                                     Unliquidated
          Richmond, IN 47374                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,254,237.05
          Terrex Construction, LLC                                              Contingent
          3200 Madison Rd.                                                      Unliquidated
          Suite 2B                                                              Disputed
          Cincinnati, OH 45209
                                                                             Basis for the claim:    Construction Services - new detox facility.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $675.00
          The Point WHON-AM Radio                                               Contingent
          PO Box 1647                                                           Unliquidated
          Richmond, IN 47375                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing/Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,114.00
          Thermal Supply                                                        Contingent
          Fire Stop Systems, LLC                                                Unliquidated
          7301 Georgetown                                                       Disputed
          Indianapolis, IN 46268
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $439.39
          Trane U.S., Inc.                                                      Contingent
          P.O. Box 98167                                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 69 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 86 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,494.67
          Translogic Corporation                                                Contingent
          11325 Main Street                                                     Unliquidated
          Broomfield, CO 80020                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $105.56
          Tri-Anim Health Services                                              Contingent
          25197 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,296.25
          Tri-Dim Filter Corp.                                                  Contingent
          P.O. Box 822001                                                       Unliquidated
          Philadelphia, PA 19182                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $908.38
          Triad Isotopes, Inc.                                                  Contingent
          PO Box 415921                                                         Unliquidated
          Boston, MA 02241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $211,222.44
          Trifecta Networks                                                     Contingent
          4027 Tampa Rd., #3900                                                 Unliquidated
          Oldsmar, FL 34677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies and IT equipment.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,160.00
          True Fitness Technology                                               Contingent
          PO Box 419161                                                         Unliquidated
          Saint Louis, MO 63141                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,458.34
          TRUEU, Inc.                                                           Contingent
          c/o Simons Bitzer & Assoc.                                            Unliquidated
          8350 S. Emerson Ave., Ste. 100                                        Disputed
          Indianapolis, IN 46237
                                                                             Basis for the claim:    Subscription
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 70 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 87 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Truscripts                                                            Contingent
          513 E. South Street                                                   Unliquidated
          Washington, IN 47501                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Benefits
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,113.50
          Trustaff Travel Nurses, LLC                                           Contingent
          PO Box 63-8231                                                        Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $166.18
          Typenex Medical                                                       Contingent
          303 E. Wacker Street, Suite 1030                                      Unliquidated
          Chicago, IL 60601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,712.25
          U.S. Nuclear Regulatory Commission                                    Contingent
          Office of the Chief Financial Officer                                 Unliquidated
          PO Box 979051                                                         Disputed
          Saint Louis, MO 63197
                                                                             Basis for the claim:    Dues/Licensing
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,578.13
          United Refrigeration, Inc.                                            Contingent
          P.O. Box 677036                                                       Unliquidated
          Dallas, TX 75267                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,449.00
          United Womens Health Services                                         Contingent
          1700 West Park Drive                                                  Unliquidated
          Suite 410                                                             Disputed
          Westborough, MA 01581
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,425.56
          Universal Linen Services, LLC                                         Contingent
          1807 Commerce Road                                                    Unliquidated
          Louisville, KY 40208                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 71 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 88 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,100.00
          University of Texas                                                   Contingent
          M.D. Anderson Cancer Center                                           Unliquidated
          PO Box 4390                                                           Disputed
          Houston, TX 77210
                                                                             Basis for the claim:    Medical Supplies
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,377.19
          UPS                                                                   Contingent
          Lockbox 577                                                           Unliquidated
          Carol Stream, IL 60132                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shipping Expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,143.00
          Uptodate                                                              Contingent
          230 Third Avenue                                                      Unliquidated
          Waltham, MA 02451                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $122,336.37
          US Foods                                                              Contingent
          9399 West Higgins Rd.                                                 Unliquidated
          Rosemont, IL 60018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Food Service Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          Van Ausdall & Farrar Inc.                                             Contingent
          De Lage Landen                                                        Unliquidated
          PO Box 41602                                                          Disputed
          Philadelphia, PA 19101
                                                                             Basis for the claim:    Equipment Rental
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,089.94
          Van Ausdall & Farrar, Inc.                                            Contingent
          PO Box 713683                                                         Unliquidated
          Cincinnati, OH 45271                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Rental
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $283,600.00
          Varian Medical Systems, Inc.                                          Contingent
          3100 Hansen Way                                                       Unliquidated
          Palo Alto, CA 94304                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 72 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 89 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,875.00
          Vascular Access Consulting                                            Contingent
          1422 Finnegan Ct.                                                     Unliquidated
          Indianapolis, IN 46217                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Verizon Business                                                      Contingent
          PO Box 15043                                                          Unliquidated
          Albany, NY 12212                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Verizon Wireless                                                      Contingent
          Bankruptcy Administration                                             Unliquidated
          500 Technology Drive, Suite 550                                       Disputed
          Saint Charles, MO 63304
                                                                             Basis for the claim:    Utility Service
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,950.00
          VNN                                                                   Contingent
          PO Box 2323                                                           Unliquidated
          Grand Rapids, MI 49501                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing/Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,752.00
          Wage Works, Inc.                                                      Contingent
          P.O. Box 45772                                                        Unliquidated
          San Francisco, CA 94145                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Benefits
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Wal-Mart/Synchrony Bank                                               Contingent
          P.O. Box 530934                                                       Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $162.00
          Wausau Financial Systems                                              Contingent
          3765 Momentum Place                                                   Unliquidated
          Chicago, IL 60689                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 73 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 90 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,556.27
          Weas Engineering, Inc.                                                Contingent
          P.O. Box 550                                                          Unliquidated
          Westfield, IN 46074                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $283,467.27
          Weatherby Locums, Inc.                                                Contingent
          15300 Weston Pkwy, Ste 105                                            Unliquidated
          Cary, NC 27513                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Third Party Staffing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $432.19
          Weingardt & Associates, Inc.                                          Contingent
          9265 Castlegate Drive                                                 Unliquidated
          Indianapolis, IN 46256                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,244.90
          Weizel Security                                                       Contingent
          P.O. Bx 276                                                           Unliquidated
          Blaine, WA 98231                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $160.40
          Welch Allyn                                                           Contingent
          PO Box 73040                                                          Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $87.22
          Wells Lumber Co.                                                      Contingent
          116 E. 9th Street                                                     Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $66.07
          Werfen USA, LLC                                                       Contingent
          PO Box 347934                                                         Unliquidated
          Pittsburgh, PA 15251-4934                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 74 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 91 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,028.00
          Whitetail Acres Tree Farm                                             Contingent
          8001 Old Blue Creek Rd.                                               Unliquidated
          Brookville, IN 47012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,017.50
          Whitewater Broadcasting                                               Contingent
          WFMG-FM                                                               Unliquidated
          PO Box 1646                                                           Disputed
          Richmond, IN 47375
                                                                             Basis for the claim:    Marketing/Advertising
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $618.00
          Whitewater Publications, Inc.                                         Contingent
          PO Box 38                                                             Unliquidated
          Brookville, IN 47012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing/Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,168.22
          Wholesale Carpets, Inc.                                               Contingent
          117 N. Central Ave.                                                   Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Vendor - Building Support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $381.97
          Wildman Corporate Apparel                                             Contingent
          800 S. Buffalo Street                                                 Unliquidated
          Warsaw, IN 46580                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,300.00
          William Nesbitt                                                       Contingent
          166 S. Villa Drive                                                    Unliquidated
          Connersville, IN 47331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Building Rental
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Windstream Communications                                             Contingent
          PO Box 9001013                                                        Unliquidated
          Louisville, KY 40290                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 75 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18              EOD 11/01/18 22:09:49                          Pg 92 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                             Case number (if known)            18-07762
              Name

 3.517     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $10,253.50
           WLPK 106.9FM WIFE 94.3FM                                             Contingent
           PO Box 619                                                           Unliquidated
           Connersville, IN 47331                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing/Advertising
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.518     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $492.20
           Wolkters Kluwer Legal & Regulatory US                                Contingent
           PO Box 71882                                                         Unliquidated
           Chicago, IL 60694                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.519     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $21,627.25
           Wooden & McLaughlin, LLP                                             Contingent
           One Indiana Square                                                   Unliquidated
           Ste. 2500                                                            Disputed
           Indianapolis, IN 46282
                                                                             Basis for the claim:    Legal Services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes


 3.520     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $76.91
           World Point ECC                                                      Contingent
           Dept #10414                                                          Unliquidated
           PO Bx 87618                                                          Disputed
           Chicago, IL 60680
                                                                             Basis for the claim:    Supplies
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes


 3.521     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $584.56
           Zoll Medical Corporation                                             Contingent
           PO Box 27028                                                         Unliquidated
           New York, NY 10087                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Supplies
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Century Link
           PO Box 52187                                                                               Line     3.85
           Phoenix, AZ 85072
                                                                                                             Not listed. Explain

 4.2       David Graff
           Graff Silverstein, LLP                                                                     Line     3.243
           60 Hawthorne Way
                                                                                                             Not listed. Explain
           Hartsdale, NY 10530




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 76 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18          EOD 11/01/18 22:09:49                      Pg 93 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                         Case number (if known)        18-07762
              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any
 4.3      David Graff
          Graff Silverstein, LLP                                                                 Line   3.447
          60 Hawthorne Way
                                                                                                        Not listed. Explain
          Hartsdale, NY 10530

 4.4      David Graff
          Graff Silverstein, LLP                                                                 Line   3.290
          60 Hawthorne Way
                                                                                                        Not listed. Explain
          Hartsdale, NY 10530

 4.5      Duke Energy
          PO Box 1326                                                                            Line   3.126
          Charlotte, NC 28201
                                                                                                        Not listed. Explain

 4.6      HD Supply Facilities Maintenance
          Attn. Melissa Perry                                                                    Line   3.167
          P.O. Box 509058
                                                                                                        Not listed. Explain
          San Diego, CA 92150

 4.7      Isaac Willett
          Faegre Baker Daniels                                                                   Line   3.447
          600 E. 96th Street, Ste. 600
                                                                                                        Not listed. Explain
          Indianapolis, IN 46240

 4.8      Isaac Willett & Dustin DeNeal
          Faegre Baker Daniels                                                                   Line   3.243
          600 E. 96th Street, Ste. 600
                                                                                                        Not listed. Explain
          Indianapolis, IN 46240

 4.9      Isaac Willett & Dustin DeNeal
          Faegre Baker Daniels                                                                   Line   3.290
          600 E. 96th Street, Ste. 600
                                                                                                        Not listed. Explain
          Indianapolis, IN 46240

 4.10     James Rossow
          Rubin & Levin PC                                                                       Line   3.286
          135 N. Pennsylvania St., Ste. 1400
                                                                                                        Not listed. Explain
          Indianapolis, IN 46204

 4.11     Jay Verona
          Shumaker Loop & Kendric, LLP                                                           Line   3.479
          101 East Kennedy Blvd. Ste 2800
                                                                                                        Not listed. Explain
          Tampa, FL 33602

 4.12     Jeff Gibson & Ashley Hadler
          Cohen & Malad LLP                                                                      Line   3.333
          One Indiana Square, Ste. 1400
                                                                                                        Not listed. Explain
          Indianapolis, IN 46204

 4.13     Jeff Gibson & Ashley Hadler
          Cohen & Malad LLP                                                                      Line   3.334
          One Indiana Square, Ste. 1400
                                                                                                        Not listed. Explain
          Indianapolis, IN 46204

 4.14     Jeffrey Hendricks
          Graydon                                                                                Line   3.2
          312 Walnut St., Ste. 1800
                                                                                                        Not listed. Explain
          Cincinnati, OH 45202




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 77 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
          Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18          EOD 11/01/18 22:09:49                         Pg 94 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                         Case number (if known)          18-07762
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.15      Kay Dee Baird
           Krieg DeVault                                                                         Line     3.427
           One Indiana Square, Ste. 2800
                                                                                                        Not listed. Explain
           Indianapolis, IN 46204-2079

 4.16      Mary Caskey
           Haynsworth Sinkler Boyd                                                               Line     3.126
           1201 Main St., 22nd Floor
                                                                                                        Not listed. Explain
           Columbia, SC 29211-1889

 4.17      Morton Branzburg
           Klehr Harrison Harvey Branzburg LLP                                                   Line     3.26
           1835 Market St., Ste 1400
                                                                                                        Not listed. Explain
           Philadelphia, PA 19103

 4.18      Sherwin Williams
           2920 N. National Road                                                                 Line     3.442
           Columbus, IN 47201
                                                                                                        Not listed. Explain

 4.19      Varian Medical Systems, Inc.
           70140 Network Place                                                                   Line     3.495
           Chicago, IL 60673
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                         0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                10,295,988.37

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                   10,295,988.37




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 78 of 78
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67      Filed 11/01/18         EOD 11/01/18 22:09:49                 Pg 95 of 131
 Fill in this information to identify the case:

 Debtor name         Fayette Memorial Hospital Association, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)         18-07762
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   ADP Workforce Now
             lease is for and the nature of               Payroll and Time
             the debtor's interest                        Services Agreement
                                                          dated 12/14/17
                                                          Termination on 60 days
                                                          notice.
                  State the term remaining                                              ADP
                                                                                        Attn: Tara Tucker
             List the contract number of any                                            One ADP Boulevard
                   government contract                                                  Roseland, NJ 07068


 2.2.        State what the contract or                   ADS Comprehensive
             lease is for and the nature of               InPatient Mental Health
             the debtor's interest                        ASP Solution
                                                          Agreement - dated
                                                          12/28/17 ($3,980/mo) -
                                                          36 months.
                  State the term remaining                through 12/27/20
                                                                                        Advanced Data Systems Corp.
             List the contract number of any                                            15 Prospect Street
                   government contract                                                  Paramus, NJ 07652


 2.3.        State what the contract or                   Medical supplies
             lease is for and the nature of               purchase and
             the debtor's interest                        distribution agreement
                                                          with Cardinal Health,
                                                          through Alliant
                                                          Purchasing, LLC,
                                                          originally dated 1/1/06.
                                                          Reviewing for term and
                                                          expiration.
                  State the term remaining
                                                                                        Alliant Purchasing, LLC
             List the contract number of any                                            2650 Eastpoint Parkway
                   government contract                                                  Louisville, KY 40223




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67             Filed 11/01/18   EOD 11/01/18 22:09:49               Pg 96 of 131
 Debtor 1 Fayette Memorial Hospital Association, Inc.                                            Case number (if known)   18-07762
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.4.        State what the contract or                   Oncology Services
             lease is for and the nature of               Agreement dated May
             the debtor's interest                        5, 2010 renewing for 1
                                                          year terms unless
                                                          90days written notice
                                                          provided prior to end of
                                                          term.
                                                          Contract for inpatient
                                                          and outpatient
                                                          oncology services.
                  State the term remaining                through May 5, 2019            American Health Network
                                                                                         Attn Linda Sundin
             List the contract number of any                                             10689 N. Pennsylvania St. Ste 200
                   government contract                                                   Indianapolis, IN 46280


 2.5.        State what the contract or                   Professional Services
             lease is for and the nature of               Agreement, Fayette
             the debtor's interest                        Regional Health
                                                          System - North Star
                                                          Recovery dated 8/10/18.
                                                          Agreement to provide
                                                          physicians and other
                                                          qualified providers to
                                                          assess and evaluate
                                                          prospective patients for
                                                          the North Star
                                                          Recovery program, and
                                                          to provide psychiatric
                                                          and medical services
                                                          for program patients.
                  State the term remaining                through August 10,
                                                          2021                           American Telepsychiatry Associates, LLC
             List the contract number of any                                             3307 West 96th Street
                   government contract                                                   Indianapolis, IN 46268


 2.6.        State what the contract or                   Professional Services
             lease is for and the nature of               Agreement Fayette
             the debtor's interest                        Regional Health
                                                          System - Adolescent
                                                          Detox executed 8/7/18.
                                                          Agreement to provide
                                                          physicians and other
                                                          qualified providers to
                                                          assess and evaluate
                                                          prospective patients for
                                                          the adolexcent
                                                          detoxification program,
                                                          and to provide
                                                          psychiatric and medical
                                                          services for program
                                                          patients.
                  State the term remaining                1 year renewable terms
                                                                                         American Telepsychiatry Associates, LLC
             List the contract number of any                                             3307 West 96th Street
                   government contract                                                   Indianapolis, IN 46268
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67             Filed 11/01/18   EOD 11/01/18 22:09:49               Pg 97 of 131
 Debtor 1 Fayette Memorial Hospital Association, Inc.                                            Case number (if known)   18-07762
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease



 2.7.        State what the contract or                   Lease of VitalBeam
             lease is for and the nature of               Radiotherapy System,
             the debtor's interest                        et al. - dated 4/6/17 -
                                                          $25,111/month (and
                                                          $500,000 down
                                                          payment) - FMV buyout
                                                          option. Assigned from
                                                          Leasing Associates of
                                                          Barrington.
                  State the term remaining                Through 4/6/2022
                                                                                         Associated Bank, N.A.
             List the contract number of any                                             525 W. Monrow Street, Ste. 2400
                   government contract                                                   Chicago, IL 60661


 2.8.        State what the contract or                   AthenaHealth Master
             lease is for and the nature of               Services Agreement for
             the debtor's interest                        billing and collection
                                                          services dated
                                                          September 29, 2017
                                                          One-year renewable
                                                          terms, unless 90days
                                                          written notice provided
                                                          prior to end of term.
                  State the term remaining                through 9/29/2019
                                                                                         Athenahealth, Inc.
             List the contract number of any                                             PO Box 415615
                   government contract                                                   Boston, MA 02241


 2.9.        State what the contract or                   Lease of Copiers and
             lease is for and the nature of               Printers. Dated 3/14/18
             the debtor's interest                        for 60 months.
                                                          $10,511.66/monthly.
                                                          FMV purchase option at
                                                          end of lease.
                  State the term remaining                Through 3/13/23
                                                                                         Canon Financial Services, Inc.
             List the contract number of any                                             158 Gaither Drive
                   government contract                                                   Mount Laurel, NJ 08054


 2.10.       State what the contract or                   Medical supplies
             lease is for and the nature of               purchase and
             the debtor's interest                        distribution agreement,
                                                          through Alliant
                                                          Purchasing, LLC,
                                                          originally dated 1/1/06.
                                                          Reviewing for term and
                                                          expiration.
                  State the term remaining
                                                                                         Cardinal Healthcare, Inc.
             List the contract number of any                                             1450 Waukegan Rd.
                   government contract                                                   Waukegan, IL 60085

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67             Filed 11/01/18   EOD 11/01/18 22:09:49               Pg 98 of 131
 Debtor 1 Fayette Memorial Hospital Association, Inc.                                            Case number (if known)   18-07762
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease


 2.11.       State what the contract or                   84 month Rental and
             lease is for and the nature of               Support Agreement
             the debtor's interest                        dated 2/26/18.

                  State the term remaining                                               Carefusion Solutions, Inc.
                                                                                         Pyxis Products
             List the contract number of any                                             3750 Torrey View Ct.
                   government contract                                                   San Diego, CA 92130


 2.12.       State what the contract or                   Lease agreement dated
             lease is for and the nature of               6/21/11 for Baxter IV
             the debtor's interest                        Pump System with FMV
                                                          purchase option.
                                                          Monthly rent of
                                                          $4,684.96 - 60 months,
                                                          then addendum
                                                          extending for 2 years
                                                          as financing (with $101
                                                          end of term buyout
                                                          option).
                  State the term remaining                No further term.               CIT
                                                                                         Dept #2067
             List the contract number of any                                             PO Box 87618
                   government contract                                                   Chicago, IL 60680


 2.13.       State what the contract or                   Eligibility Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10/7/08, as amended.
                                                          Patient Medicaid
                                                          eligilbity processing
                                                          and screening services.
                                                          1 year renewable terms
                                                          unless 60 days written
                                                          notice prior to end of
                                                          term.
                  State the term remaining
                                                                                         Claimaid
             List the contract number of any                                             8141 Zionsville Rd.
                   government contract                                                   Indianapolis, IN 46278


 2.14.       State what the contract or                   Master Lease
             lease is for and the nature of               Agreement - No.
             the debtor's interest                        54197-2763. For
                                                          computer equipment
                                                          and software. Dated
                                                          effective 6/24/14.
                                                          Lease schedule
                                                          missing.
                  State the term remaining
                                                                                         Dell Financial Services L.L.C.
             List the contract number of any                                             One Dell Way
                   government contract                                                   Round Rock, TX 78682

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 4 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 18-07762-JJG-11                            Doc 67             Filed 11/01/18   EOD 11/01/18 22:09:49               Pg 99 of 131
 Debtor 1 Fayette Memorial Hospital Association, Inc.                                            Case number (if known)   18-07762
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease


 2.15.       State what the contract or                   Physician Professional
             lease is for and the nature of               Services Agreement
             the debtor's interest                        dated 9/15/14, as
                                                          amended 9/16/16.
                                                          Respiratory Services
                                                          Medical Director
                                                          Agreement dated
                                                          1/29/15.
                                                          90-Day Termination
                                                          Notice sent by Dr.
                                                          Zawadski dated
                                                          9/12/18.
                  State the term remaining
                                                                                         Dennis K. Zawadski, M.D.
             List the contract number of any                                             1941 Virginia Ave.
                   government contract                                                   Connersville, IN 47331


 2.16.       State what the contract or                   Coverage Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        October 8, 2018. To
                                                          provide emergency
                                                          department physician
                                                          staffing services. 3
                                                          Year term from 11/1/18
                                                          with 1 year renewal
                                                          terms unless notice of
                                                          termination provided 90
                                                          days prior to expiration
                                                          of term.
                  State the term remaining                through 11/1/21
                                                                                         Emergency Staffing Solutions
             List the contract number of any                                             17304 Preston Road, Suite 1400
                   government contract                                                   Dallas, TX 75252


 2.17.       State what the contract or                   Lease of 212 W. 20th
             lease is for and the nature of               Street, Connersville, IN
             the debtor's interest                        47331 to Fayette
                                                          County EMS - $600/mo.
                  State the term remaining
                                                                                         Fayette County EMS
             List the contract number of any                                             212 W. 20th Street
                   government contract                                                   Connersville, IN 47331


 2.18.       State what the contract or                   Lease Agreement for
             lease is for and the nature of               office and clinic space
             the debtor's interest                        at 1941 Virginia Ave
                                                          originally dated 9/1/15,
                                                          Amended 1/1/17.
                                                          Debtor is landlord.
                  State the term remaining
                                                                                         Fayette Regional Health System Pain Mgmt
             List the contract number of any                                             1941 Virginia Ave
                   government contract                                                   Connersville, IN 47331
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 5 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 18-07762-JJG-11                           Doc 67             Filed 11/01/18    EOD 11/01/18 22:09:49               Pg 100 of 131
 Debtor 1 Fayette Memorial Hospital Association, Inc.                                            Case number (if known)   18-07762
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease



 2.19.       State what the contract or                   Originally with Leasing
             lease is for and the nature of               Associates of
             the debtor's interest                        Barrington assigned to
                                                          First Midwest Bank -
                                                          Lease of
                                                          Mammography
                                                          Equipment - 60 months
                                                          - $10,579/month. Dated
                                                          3/24/17 - typo corrected
                                                          by addendum). FMV
                                                          buyout option.
                                                          Addendum dated
                                                          9/17/17 adding Konica
                                                          Radiology Detectors, et
                                                          al. - increased payment
                                                          to $14,020/mo.
                  State the term remaining                3/24/2021
                                                                                         First Midwest Bank
             List the contract number of any                                             One Pierce Place, Suite 1500
                   government contract                                                   Itasca, IL 60143


 2.20.       State what the contract or                   IARCCA Membership
             lease is for and the nature of               Software License
             the debtor's interest                        Agreement dated 2009 -
                                                          softward license
                                                          agreement for EON
                                                          Software.
                  State the term remaining                                               IARCA
                                                                                         5519 E. 82nd Street
             List the contract number of any                                             Suite A
                   government contract                                                   Indianapolis, IN 46250


 2.21.       State what the contract or                   Grant Agreement for
             lease is for and the nature of               the construction and
             the debtor's interest                        operation of a
                                                          Detoxification Facility.
                  State the term remaining
                                                                                         Indiana State Department of Health
             List the contract number of any 00000000000000000000                        2 N. Meridian Street
                   government contract       21534                                       Indianapolis, IN 46204


 2.22.       State what the contract or                   Physicist Services
             lease is for and the nature of               Agreement.
             the debtor's interest                        Independent contractor
                                                          agreement with Joseph
                                                          Webster M.S. to
                                                          provide radiation
                                                          therapy physics
                                                          services. Dated 8/1/18
                                                          for a 1 year term,             Joseph Webster M.S.
                                                          renewable for 1 year           10832 Silver Charm Lane
                                                          terms through 7/31/21.         Union, KY 41091
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 6 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 18-07762-JJG-11                           Doc 67             Filed 11/01/18    EOD 11/01/18 22:09:49               Pg 101 of 131
 Debtor 1 Fayette Memorial Hospital Association, Inc.                                            Case number (if known)   18-07762
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                Through 7/31/2019

             List the contract number of any
                   government contract


 2.23.       State what the contract or                   On assignment from
             lease is for and the nature of               NEC Corporation.
             the debtor's interest                        Lease of phone
                                                          equipment. Dated
                                                          3/23/12.
                  State the term remaining                Uncertain.                     Jules & Associates
                                                                                         Accounts Receivable
             List the contract number of any                                             515 S. Figueroa Street
                   government contract                                                   Los Angeles, CA 90071


 2.24.       State what the contract or                   Agreement for required
             lease is for and the nature of               fire extinguisher, hood,
             the debtor's interest                        fire alarm, and sprinkler
                                                          inspection services.
                                                          Dated 3/24/16.
                  State the term remaining                Through 3/14/19
                                                                                         Koorsen Fire & Security
             List the contract number of any                                             1450 Northwest 11th Street
                   government contract                                                   Richmond, IN 47374


 2.25.       State what the contract or                   License Agreement
             lease is for and the nature of               dated 3/8/08 for
             the debtor's interest                        software, clinical
                                                          content, and services
                                                          provided by McKesson
                                                          to Debtor.
                  State the term remaining
                                                                                         McKesson Health Solutions, LLC
             List the contract number of any                                             One Post Street, 34th Floor
                   government contract                                                   San Francisco, CA 94104


 2.26.       State what the contract or                   Agreement for
             lease is for and the nature of               Physician Services
             the debtor's interest                        Hospitalist dated
                                                          10/1/17. To provide
                                                          hospital medicine
                                                          services at the
                                                          Hospital. Through
                                                          9/30/19, with 2 year
                                                          renewal terms unless
                                                          notice provided 120
                                                          days prior to expiration
                                                          of term.
                  State the term remaining                through 9/30/19                Medical Hospitalists, LLC
                                                                                         155 E. Market Street
             List the contract number of any                                             Suite 700
                   government contract                                                   Indianapolis, IN 46204

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 7 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 18-07762-JJG-11                           Doc 67             Filed 11/01/18    EOD 11/01/18 22:09:49               Pg 102 of 131
 Debtor 1 Fayette Memorial Hospital Association, Inc.                                            Case number (if known)   18-07762
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease


 2.27.       State what the contract or                   Medline Industries,
             lease is for and the nature of               Inc./Fayette Regional
             the debtor's interest                        Health System
                                                          Corporate Program
                                                          Agreement dated
                                                          2/19/18.
                  State the term remaining                through 6/30/22
                                                                                         Medline Industries, Inc.
             List the contract number of any                                             Dept Ch. 14400
                   government contract                                                   Palatine, IL 60055


 2.28.       State what the contract or                   Fixed Price Statement
             lease is for and the nature of               of Work for upgrade of
             the debtor's interest                        NEC Based PBX Voice
                                                          Network
                  State the term remaining
                                                                                         NEC Corporation of America
             List the contract number of any                                             6535 North State Hwy 161
                   government contract                                                   Irving, TX 75039-2402


 2.29.       State what the contract or                   Agreement for
             lease is for and the nature of               Physician Services
             the debtor's interest                        dated 4/1/17. To
                                                          provide phyisician
                                                          services for patients in
                                                          need of certain
                                                          radiological services
                                                          and procedures. 2 Year
                                                          term, with renewable 1
                                                          year terms, with 180
                                                          day termination notice
                                                          provision.
                  State the term remaining                through 4/1/19                 Northwest Radiology Network
                                                                                         Attn. Patty Dearing
             List the contract number of any                                             5901 Technology Center Drive
                   government contract                                                   Indianapolis, IN 46278


 2.30.       State what the contract or                   Orchard Software
             lease is for and the nature of               Corporation Laboratory
             the debtor's interest                        Information System
                                                          Purchase Agreement
                                                          for Fayette REgional
                                                          Health System dated
                                                          10/27/17. Termination
                                                          on mutual agreement
                                                          or upon 30 days notice
                                                          for cause.
                  State the term remaining                                               Orchard Software Corporation
                                                                                         701 Congressional Blvd.
             List the contract number of any                                             Suite 360
                   government contract                                                   Carmel, IN 46032



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 8 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 18-07762-JJG-11                           Doc 67             Filed 11/01/18    EOD 11/01/18 22:09:49               Pg 103 of 131
 Debtor 1 Fayette Memorial Hospital Association, Inc.                                            Case number (if known)   18-07762
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.31.       State what the contract or                   Phillips RightFit
             lease is for and the nature of               Service Agreement - for
             the debtor's interest                        MRI Service. Dated
                                                          9/15/17 for 48 months.
                                                          $8,366/month.
                  State the term remaining
                                                                                         Philips Healthcare
             List the contract number of any                                             22100 Bothell Everett Highway
                   government contract                                                   Bothell, WA 98041-3003


 2.32.       State what the contract or                   Exclusive Agreement to
             lease is for and the nature of               provide anesthesiology
             the debtor's interest                        services. Notice of
                                                          termination provided
                                                          prior to Petition Date.
                  State the term remaining                                               Resource Anesthesiology Associates of IN
                                                                                         450 Mamaroneck Ave
             List the contract number of any                                             Suite 201
                   government contract                                                   Harrison, NY 10528


 2.33.       State what the contract or                   General Conditions of
             lease is for and the nature of               Assignment for the
             the debtor's interest                        services of an Interim
                                                          CFO. Datred 10/1/18.
                  State the term remaining
                                                                                         Robert Half Management Resources
             List the contract number of any                                             135 N. Pennsylvania, Suite 1700
                   government contract                                                   Indianapolis, IN 46204-4405


 2.34.       State what the contract or                   Lease of 1936 Virginia
             lease is for and the nature of               Ave., Connersville, IN
             the debtor's interest                        47331 to Sheryl Myers
                                                          Bookkeeping.
                                                          $450/mo.
                  State the term remaining
                                                                                         Sheryl Myers Bookkeeping
             List the contract number of any                                             1936 Virginia Ave.
                   government contract                                                   Connersville, IN 47331


 2.35.       State what the contract or                   Gold Contract Service
             lease is for and the nature of               Agreement for SIemens
             the debtor's interest                        Symbia S. Dated
                                                          1/20/18. 60 months.
                                                          $39,044 annually, but
                                                          billed monthly.
                  State the term remaining                Through 1/19/2023              Siemens Medical Solutions USA
                                                                                         PO Box 120001
             List the contract number of any                                             Dept 0733
                   government contract                                                   Dallas, TX 75312




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 9 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 18-07762-JJG-11                           Doc 67             Filed 11/01/18    EOD 11/01/18 22:09:49               Pg 104 of 131
 Debtor 1 Fayette Memorial Hospital Association, Inc.                                            Case number (if known)   18-07762
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.36.       State what the contract or                   Facility Agreement with
             lease is for and the nature of               Southeastern Indiana
             the debtor's interest                        Health
                                                          Operations/Organizatio
                                                          n, Inc., and SIHO
                                                          Network, Inc., as
                                                          Amended. Self-insured
                                                          medical claims
                                                          processing services.
                  State the term remaining
                                                                                         SIHO Insurance Services
             List the contract number of any                                             417 Washington Street
                   government contract                                                   Columbus, IN 47201


 2.37.       State what the contract or                   Timeshare Lease
             lease is for and the nature of               Agreement 1st Floor
             the debtor's interest                        Cardiology Space to St.
                                                          Vincent.
                                                          $2,559.42/month (dated
                                                          5/30/15 for renewable 1
                                                          years terms)
                                                          Telemedicine Services
                                                          Agreement - to provide
                                                          telemedicine
                                                          consultations by
                                                          specialist physicians
                                                          for Debtor's patients
                                                          (Dated 6/15/15 for
                                                          renewable 1 year
                                                          terms)
                                                          Support Staff Lease
                                                          Agreement - lease of
                                                          support staff services
                                                          from Debtor (dated
                                                          5/30/15 for renewable 1
                                                          year terms)
                                                          Agreement for Medical
                                                          Director Services - to
                                                          provide cardiologists
                                                          as medical directors for
                                                          Debtor (dated 9/5/11 for
                                                          2 years with renewable
                                                          1 year terms)
                                                          Exclusive Agreement
                                                          for Cardiology Services
                                                          (dated 9/5/11 for 2
                                                          years with renewable 1
                                                          year terms)
                  State the term remaining                Various (multiple
                                                          agreements)                    St. Vincent Medical Group
             List the contract number of any                                             10330 N. Meridian Street, Ste. 400
                   government contract                                                   Indianapolis, IN 46280




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 10 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case 18-07762-JJG-11                           Doc 67             Filed 11/01/18    EOD 11/01/18 22:09:49               Pg 105 of 131
 Debtor 1 Fayette Memorial Hospital Association, Inc.                                            Case number (if known)   18-07762
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.38.       State what the contract or                   Use of Equipment
             lease is for and the nature of               Agreement - undated,
             the debtor's interest                        lacks description of
                                                          equipment or fee
                                                          obligations.
                  State the term remaining
                                                                                         US Foods, Inc.
             List the contract number of any                                             9399 West Higgins Rd.
                   government contract                                                   Rosemont, IL 60018


 2.39.       State what the contract or                   Lease of Ricoh Copiers
             lease is for and the nature of               and Service
             the debtor's interest                        Agreement. Dated
                                                          11/15/13. 1 year
                                                          renewable terms on
                                                          service agreement. 4
                                                          year term on rental
                                                          agreement.
                  State the term remaining
                                                                                         Van Ausdall & Farrar, Inc.
             List the contract number of any                                             6430 E. 75th Street
                   government contract                                                   Indianapolis, IN 46250


 2.40.       State what the contract or                   Vitalbeam
             lease is for and the nature of               Radiotherapy
             the debtor's interest                        Essentials agreement -
                                                          5 year term - dated
                                                          1/9/17
                  State the term remaining                Through 1/9/22
                                                                                         Varian Medical Systems, Inc.
             List the contract number of any                                             3100 Hansen Way
                   government contract                                                   Palo Alto, CA 94304




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 11 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
          Case 18-07762-JJG-11                          Doc 67       Filed 11/01/18         EOD 11/01/18 22:09:49             Pg 106 of 131
 Fill in this information to identify the case:

 Debtor name         Fayette Memorial Hospital Association, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)         18-07762
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67        Filed 11/01/18             EOD 11/01/18 22:09:49                   Pg 107 of 131



 Fill in this information to identify the case:

 Debtor name         Fayette Memorial Hospital Association, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)         18-07762
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                           $46,830,319.00
       From 10/01/2017 to 9/30/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $48,104,538.00
       From 10/01/2016 to 9/30/2017
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                           $49,832,269.00
       From 10/01/2015 to 9/30/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67          Filed 11/01/18              EOD 11/01/18 22:09:49                    Pg 108 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                                 Case number (if known) 18-07762



       Creditor's Name and Address                                          Dates                   Total amount of value        Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Schedule to be filed as attachment.                                                                 $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                   Total amount of value        Reasons for payment or transfer
       Relationship to debtor
       4.1.    Schedule to be filed as attachment.                                                                 $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken
       ORS, Inc.                                                 Setoff against patient revenues in credit                     Various, most                  Unknown
       PO Box 7009                                               card accounts.                                                recent on
       Fishers, IN 46037                                         Last 4 digits of account number:                              10/3/18


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Bentley v. Fayette Regional                       Tort Claim                 Marion County Superior                         Pending
               Health System, et al.                                                        Court                                          On appeal
               49D03-1305-CT-020828                                                         Indianapolis, IN 46204
                                                                                                                                           Concluded




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67         Filed 11/01/18            EOD 11/01/18 22:09:49                Pg 109 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                               Case number (if known) 18-07762



               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.2.    Lawrence v. Fayette Regional                      Tort Claim                Indiana Department of                   Pending
               Health System, et al.                                                       Insurance                               On appeal
               (Pending before Indiana                                                     Indianapolis, IN 46204
                                                                                                                                   Concluded
               Department of Insurance)


       7.3.    Selke v. Fayette Regional                         Tort Claim                Indiana Department of                   Pending
               Health System, et al.                                                       Insurance                               On appeal
               (Pending before Indiana                                                     Indianapolis, IN 46204
                                                                                                                                   Concluded
               Department of Insurance)


       7.4.    Eckerle v. Debtor Fayette                         Tort Claim                Indiana Department of                   Pending
               Regional Health System, et al.                                              Insurance                               On appeal
               (Pending before the Indiana                                                 Indianapolis, IN 46204
                                                                                                                                   Concluded
               Department of Insurance)


       7.5.    Watts v. Fayette Regional                         Tort Claim                Indiana Department of                   Pending
               Health System, et al.                                                       Insurance                               On appeal
               (Pending before the Indiana                                                 Indianapolis, IN 46204
                                                                                                                                   Concluded
               Department of Insurance)


       7.6.    Ruch v. Fayette Regional                          Tort Claim -                                                      Pending
               Health System, et al.                             Settled and                                                       On appeal
                                                                 Dismissed 7/17/18
                                                                                                                                   Concluded


       7.7.    Evans v. Fayette Regional                         Tort Claim -                                                      Pending
               Health System, et al.                             Settled and                                                       On appeal
                                                                 Dismissed
                                                                                                                                   Concluded
                                                                 11/10/16

       7.8.    Shearer v. Fayette Regional                       Tort Claim -                                                      Pending
               Health System, et al.                             Settled &                                                         On appeal
                                                                 Dismissed 2/28/17
                                                                                                                                   Concluded


       7.9.    Collins v. Fayette Regional                       Tort Claim -              Indiana Department of                   Pending
               Health System, et al.                             closed.                   Insurance                               On appeal
               (previously pending before                                                  Indianapolis, IN 46204
                                                                                                                                   Concluded
               Department of Insurance)


       7.10 Wadle v. Fayette Regional                            Tort Claim -              Indiana Department of                   Pending
       .    Health System, et al.                                closed.                   Insurance                               On appeal
               (previously pending before                                                  Indianapolis, IN 46204
                                                                                                                                   Concluded
               Department of Insurance)


       7.11 Cotten v. Fayette Regional                           Tort Claim -              U.S. District Court, S.D. of            Pending
       .    Health System                                        Settled &                 Indiana                                 On appeal
               1:16-cv-0978-WTL-MPB                              Dismissed 6/2/17          46 E. Ohio Street
                                                                                                                                   Concluded
                                                                                           Indianapolis, IN 46204

       7.12 Noble v. Fayette Regional                            Tort Claim -              Indiana Department of                   Pending
       .    Health System, et al.                                dismissed.                Insurance                               On appeal
               (previously pending before                                                  Indianapolis, IN 46204
                                                                                                                                   Concluded
               Department of Insurance)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67          Filed 11/01/18           EOD 11/01/18 22:09:49                   Pg 110 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                               Case number (if known) 18-07762



               Case title                                        Nature of case            Court or agency's name and              Status of case
               Case number                                                                 address
       7.13 Siskin Physicians, LLC as                            Civil complaint           Fayette County Circuit                      Pending
       .    assignee of Cardinal                                 alleging Breach of        Court                                       On appeal
               Physicians, LLC, and OPYS                         Contract, Fraud,          401 N. Central Ave.
                                                                                                                                       Concluded
               Holdings, Inc. v. Fayette                         Defamation,               Connersville, IN 47331
               Regional Health System, Inc.,                     Unjust
               and Randy White                                   Enrichment,
               21C01-1810-PL-000757                              Tortious
                                                                 Interference,
                                                                 Promissory
                                                                 Estoppel, and
                                                                 seeking a
                                                                 Permanent
                                                                 Injunction.
                                                                 Filed 10/9/18

       7.14 In re: The Estate of Orville                         Probate Claim in          Franklin County Circuit                     Pending
       .    Bever, Jr.                                           an estate.                Court 1                                     On appeal
               24C01-1611-EU-000620                              Estate closed as          Brookville, IN 47012
                                                                                                                                       Concluded
                                                                 insolvent May
                                                                 2018


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                           Value

       9.1.    Fayette County Senior Center                      Donation of food and labor between                      Oct 2016
               477 N. Grand Ave.                                 October 2016 through September 2017                     through Sept
               Connersville, IN 47331                                                                                    2017                            $1,478.97

               Recipients relationship to debtor
               None


       9.2.    Fayette County Senior Center                                                                              October 2017
                                                                 Donations of Food and Labor between
               477 N. Grand Ave.                                                                                         through
                                                                 October 2017 and September 2018
               Connersville, IN 47331                                                                                    September
                                                                                                                         2018                            $1,424.57

               Recipients relationship to debtor
               None


       9.3.    Connersville High School                          Donation for Fayette County 5K
               1100 Spartan Drive                                Sponsorship
               Connersville, IN 47331                                                                                    1/11/17                         $1,800.00

               Recipients relationship to debtor
               None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67          Filed 11/01/18           EOD 11/01/18 22:09:49                 Pg 111 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                               Case number (if known) 18-07762



               Recipient's name and address                      Description of the gifts or contributions               Dates given                    Value

       9.4.    Connersville High School                          Fayette County 5K Sponsorship
               1100 Spartan Drive
               Connersville, IN 47331                                                                                    4/20/18                  $2,981.00

               Recipients relationship to debtor
               None


       9.5.    City of Connersville                              Sponsorhip - WeatherBug 2017
               500 North Central Avenue
               Connersville, IN 47331                                                                                    12/31/2016               $2,500.00

               Recipients relationship to debtor
               None


       9.6.    City of Connersville                              Sponsorship - WeatherBug 2018
               500 North Central Ave.
               Connersville, IN 47331                                                                                    4/20/2018                $2,500.00

               Recipients relationship to debtor
               None


       9.7.    House of Ruth                                     Sponsorship - 2017 Royal Ball
               322 Summit Ave.
               Connersville, IN 47331                                                                                    10/23/17                 $1,000.00

               Recipients relationship to debtor
               None


       9.8.    Connersville Babe Ruth                            2017 Field Sponsorship
               620 Water Street
               Connersville, IN 47331                                                                                    5/31/18                  $1,000.00

               Recipients relationship to debtor
               None


       9.9.    Connersville Babe Ruth                            2018 Field Sponsorship
               620 Water Street
               Connersville, IN 47331                                                                                    3/9/18                   $1,000.00

               Recipients relationship to debtor
               None


       9.10 Dribble over Drugs                                   T-Shirt Sponsor for Dribble Over Drugs 3
       .    wws.dribbleoverdrugs.com                             v 3 Tournament                                          6/12/18                  $1,600.00

               Recipients relationship to debtor
               None


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67           Filed 11/01/18              EOD 11/01/18 22:09:49                Pg 112 of 131
 Debtor        Fayette Memorial Hospital Association, Inc.                                                  Case number (if known) 18-07762



       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss        Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Fultz Maddox Dickens, PLC
                 333 N. Alabama Street
                 Suite 350                                           Attorney Fees - Initial Retainer for
                 Indianapolis, IN 46204                              Pre-Bankruptcy Evaluation and Planning                                           $5,000.00

                 Email or website address
                 wbrewer@fmdlegal.com

                 Who made the payment, if not debtor?
                 N/A


       11.2.     Fultz Maddox Dickens, PLC
                 333 N. Alabama Street
                 Suite 350                                           Attorney Fees - Additional Bankruptcy
                 Indianapolis, IN 46204                              Retainer + Filing Fee                                                          $26,717.00

                 Email or website address
                 wbrewer@fmdlegal.com

                 Who made the payment, if not debtor?
                 N/A



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers         Total amount or
                                                                                                                        were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                   Date transfer         Total amount or
                Address                                          payments received or debts paid in exchange              was made                       value

 Part 7:       Previous Locations


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67          Filed 11/01/18           EOD 11/01/18 22:09:49                  Pg 113 of 131
 Debtor        Fayette Memorial Hospital Association, Inc.                                              Case number (if known) 18-07762



14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care
       15.1.     Fayette Memorial Hospital                       Community Hospital providing inpatient and outpatient
                 Assoc., Inc.                                    services at the hospital campus, Pain Management
                 1941 Virginia Ave.                              Clinic, Inpatient Detoxification Unit
                 Connersville, IN 47331
                                                                 Location where patient records are maintained (if different from      How are records kept?
                                                                 facility address). If electronic, identify any service provider.
                                                                 1941 Virginia Avenue, Connersville, IN 47331                          Check all that apply:
                                                                 3135 Virginia Avenue, Connersville, IN 47331
                                                                 Electronic Records through EHR provider
                                                                 AthenaHealth
                                                                                                                                          Electronically
                                                                                                                                          Paper

       15.2.     Fayettte Regional Health                        Outpatient services provided at various locations off
                 System (d/b/a)                                  the hospital campus throughout Connersville, Indiana.
                 1941 Virginia Avenue
                                                                 Location where patient records are maintained (if different from      How are records kept?
                 Connersville, IN 47331                          facility address). If electronic, identify any service provider.
                                                                 450 Erie Avenue, Connersville, IN 47331                               Check all that apply:
                                                                 3542 N. Western Ave., Connersville, IN 47331
                                                                 2025 Virginia Ave., Connersville, IN 47331
                                                                 1908 N. Park Road, Connersville, IN 47331
                                                                 2004 Indiana Ave., Connersville, IN 47331
                                                                 1550 E. St. Rd. 44, Connersville, IN 47331
                                                                 Electronic records matainted by EHR provider
                                                                 AthenaHealth
                                                                                                                                          Electronically
                                                                                                                                          Paper


 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67         Filed 11/01/18            EOD 11/01/18 22:09:49                   Pg 114 of 131
 Debtor      Fayette Memorial Hospital Association, Inc.                                                Case number (if known) 18-07762



                  HIPAA protected health information.
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Fayette Regional Health Systems 457(b) Plan                                                EIN:

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       ERB Lumber Building (owned by                                 List to be provided.                 Equipment and Medical                   No
       Debtor)                                                                                            Records.                                Yes
       3135 Virginia Avenue
       Connersville, IN 47331



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67        Filed 11/01/18             EOD 11/01/18 22:09:49                       Pg 115 of 131
 Debtor      Fayette Memorial Hospital Association, Inc.                                                Case number (if known) 18-07762



    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Fayette Regional Health                          Pain Management Clinic. An                       EIN:
             System Pain Mgmt                                 Indiana limited liability company
             1941 Virginia Ave                                jointly owned by Debtor (51%) and                From-To      Organized 4/24/2015. Still
             Connersville, IN 47331                           Connersville Pain Management,                                 Operating.
                                                              LLC, an Ohio entity (49%).

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67        Filed 11/01/18             EOD 11/01/18 22:09:49                 Pg 116 of 131
 Debtor      Fayette Memorial Hospital Association, Inc.                                                Case number (if known) 18-07762



       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       Samantha Bell Jent, CFO
                    1941 Virginia Ave.
                    Connersville, IN 47331
       26a.2.       Gary Ward, Interim CFO
                    Robert Half Agency

       26a.3.       Blue & Co., LLC
                    2712 SOlution Center
                    Chicago, IL 60677

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Blue & Co., LLC
                    2712 SOlution Center
                    Chicago, IL 60677

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Samantha Bell Jent, CFO
                    1941 Virginia Ave
                    Connersville, IN 47331
       26c.2.       Gary Ward, Interim CFO
                    Robert Half Agency

       26c.3.       Blue & Co., LLC
                    2712 SOlution Center
                    Chicago, IL 60677

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Comerica Bank (as Bondholder)
                    Attn. Sarah R. Miller
                    411 W. Lafayette Street, MC 3205
                    Detroit, MI 48226
       26d.2.       Bank of New York Mellon Trust Co.
                    300 N. Meridian Street, Ste. 910
                    Indianapolis, IN 46204
       26d.3.       Cain Brothers
                    1 California Street, Ste. 2400
                    San Francisco, CA 94111
       26d.4.       Community East Health System
                    1500 North Ritter Ave.
                    Indianapolis, IN 46219
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67        Filed 11/01/18             EOD 11/01/18 22:09:49                  Pg 117 of 131
 Debtor      Fayette Memorial Hospital Association, Inc.                                                Case number (if known) 18-07762



       Name and address
       26d.5.       TriHealth
                    625 Eden Park Drive
                    Cincinnati, OH 45202
       26d.6.       Fifth Third Bank
                    145 North East Street
                    Indianapolis, IN 46202
       26d.7.       FCN Bank NA
                    501 Main Street
                    PO Box 37
                    Brookville, IN 47012

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Randall White                                  1941 Virginia Avenue                                Chief Executive Officer               N/A
                                                      Connersville, IN 47331

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Samantha Bell Jent                             1941 Virginia Avenue                                Prior CFO, returned as                N/A
                                                      Connersville, IN 47331                              full-time CFO post-petition

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Gary Ward                                      1941 Virginia Avenue                                Interim CFO under contract            N/A
                                                      Connersville, IN 47331

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Allison Gates                                  1941 Virginia Avenue                                COO (last day 10/19/18)               N/A
                                                      Connersville, IN 47331

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       James Thomas                                   1941 Virginia Ave                                   President (NFP Board)                 N/A
                                                      Connersville, IN 47331

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Dan Parker                                     1941 Virginia Ave.                                  Vice President (NFP Board)            N/A
                                                      Connersville, IN 47331

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Joel Long                                      1941 Virginia Ave.                                  Secretary (NFP Board)                 N/A
                                                      Connersville, IN 47331




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67         Filed 11/01/18            EOD 11/01/18 22:09:49                 Pg 118 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                               Case number (if known) 18-07762



       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Sandy Cates                                    1941 Virginia Ave.                                  Treasurer (NFP Board)               N/A
                                                      Connersville, IN 47331



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 Schedule to be attached for
       .    paid officer


               Relationship to debtor



       30.2                                                                                                                               Stipend for board
       .                                                                                                                                  service usually
               James Thomas                                                                                                               paid
               1941 Virginia Ave                                                                                                          approximately
               Connersville, IN 47331                            2018 - $4,500 ($9,000//year)                                             quarterly.

               Relationship to debtor
               Board President


       30.3                                                                                                                               Stipend for board
       .                                                                                                                                  service usually
               Dan Parker                                                                                                                 paid
               1941 Virginia Ave.                                                                                                         approximately
               Connersville, IN 47331                            2018 - $2,820 ($5,640/year)                                              quarterly.

               Relationship to debtor
               Board Vice President


       30.4                                                                                                                               Stipend for board
       .                                                                                                                                  service usually
               Joel Long                                                                                                                  paid
               1941 Virginia Ave.                                                                                                         approximately
               Connersville, IN 47331                            2018 - $2,820 ($5,640/year)                                              quarterly.

               Relationship to debtor
               Board Secretary




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
        Case 18-07762-JJG-11                            Doc 67         Filed 11/01/18            EOD 11/01/18 22:09:49                 Pg 119 of 131
 Debtor       Fayette Memorial Hospital Association, Inc.                                               Case number (if known) 18-07762



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.5                                                                                                                                Stipend for board
       .                                                                                                                                   service usually
               Sandy Cates                                                                                                                 paid
               1941 Virginia Ave.                                                                                                          approximately
               Connersville, IN 47331                            2018 - $2,820 ($5,640/year)                                               quarterly.

               Relationship to debtor
               Board Treasurer


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         November 1, 2018

 /s/ Samantha Bell-Jent                                                 Samantha Bell-Jent
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Financial Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
Case 18-07762-JJG-11              Doc 67     Filed 11/01/18       EOD 11/01/18 22:09:49       Pg 120 of 131



Fayette Regional Health System
90-Day Payments
07/01/18-10/10/18

Payee                                                  Date                     Document No           Amount
11824--FULTZ MADDOX DICKENS
                                                       10/10/18                 144382                30,000.00
                                                       10/9/18                                         1,717.00
                                                                                                     31,717.00

11331--TERREX CONSTRUCTION LLC
                                                       7/3/18                   143661              1,140,634.35
                                                       8/13/18                  144030                879,428.73
                                                       10/10/18                 144381                600,000.00
                                                                                                  2,620,063.08

11774--RICHARD BALDWIN, MD
                                                       9/14/18                  144207                 4,320.00
                                                       9/18/18                  144217                 4,320.00
                                                       9/21/18                  144264                 4,320.00
                                                       9/26/18                  144300                 4,320.00
                                                       9/28/18                  144316                 4,320.00
                                                       10/5/18                  144371                 4,320.00
                                                       10/9/18                  144380                 4,320.00
                                                                                                     30,240.00

11769--ML MANAGEMENT
                                                       9/13/18                  144202               45,400.00


11773--RAMESH SHARMA, MD
                                                       9/14/18                  144205                 4,320.00
                                                       9/21/18                  144263                 4,320.00
                                                       9/26/18                  144295                 4,320.00
                                                       9/26/18                  144298                 4,320.00
                                                       9/26/18                  144299                 4,320.00
                                                       10/5/18                  144328                 4,320.00
                                                       10/5/18                  144370                 4,320.00
                                                       10/8/18                  144379                 4,320.00
                                                                                                     34,560.00

8475--OSMAN CLINIC & ASSOC
                                                       7/16/18                  143751                55,263.99
                                                       8/7/18                   143992                50,000.00
                                                       8/22/18                  144099                 5,433.99
                                                       10/5/18                  144376                55,263.99
                                                                                                    165,961.97

10961--ALLIED WORLD SURPLUS LINES INSURANCE COMPANY
                                                       8/24/18                  144134                14,852.74
                                                       8/24/18                  144135                 9,022.16
                                                       10/5/18                  144368                   570.50
                                                                                                     24,445.40

303--CONNERSVILLE UTILITIES
                                                       7/13/18                  143734                 9,515.86
                                                       8/15/18                  144041                 8,207.03
                                                       8/15/18                  144042                 1,209.93
                                                       10/5/18                  144350                 8,181.78
                                                       10/5/18                  144351                 1,987.14
                                                                                                     29,101.74

946--OHIO VALLEY GAS CO
                                                       7/13/18                  143742                 4,929.38
                                                       7/13/18                  143743                   164.16
                                                       7/13/18                  143744                   137.60
                                                       7/20/18                  143787                 1,347.13
                                                       8/2/18                   143955                    30.83
                                                       8/16/18                  144066                   268.43
                                                       8/24/18                  144144                 6,480.53
                                                       10/5/18                  144363                   286.22
                                                       10/5/18                  144364                 6,575.55
                                                                                                     20,219.83

8240--METRONET
                                                       7/13/18                  143741                 1,200.46
                                                       8/2/18                   143952                14,031.11
                                                       9/18/18                  144250                30,974.10
                                                       10/5/18                  144362                 1,225.59
                                                                                                     47,431.26

8082--WINDSTREAM COMMUNICATIONS
                                                       7/13/18                  143747                14,973.98
                                                       10/5/18                  144367                10,085.36
                                                                                                     25,059.34

5303--VERIZON BUSINESS
Case 18-07762-JJG-11               Doc 67   Filed 11/01/18      EOD 11/01/18 22:09:49   Pg 121 of 131



                                                      7/13/18                 143745             4,539.21
                                                      8/2/18                  143976             1,710.94
                                                      9/18/18                 144248             2,241.67
                                                      10/5/18                 144365             2,767.04
                                                                                               11,258.86

8063--FRONTIER
                                                      7/13/18                 143737             1,785.29
                                                      7/13/18                 143738             7,774.24
                                                      7/13/18                 143739             8,523.52
                                                      10/5/18                 144357               974.60
                                                      10/5/18                 144358             8,288.44
                                                      10/5/18                 144359             8,311.67
                                                      10/5/18                 144360             1,034.67
                                                                                               36,692.43

248--DUKE ENERGY
                                                      7/13/18                 143735            10,271.27
                                                      7/13/18                 143736               949.01
                                                      7/20/18                 143792            56,508.15
                                                      7/25/18                 143845             2,463.93
                                                      8/20/18                 144073            49,488.38
                                                      8/20/18                 144074             9,445.97
                                                      10/5/18                 144352               855.63
                                                      10/5/18                 144353            62,798.65
                                                      10/5/18                 144354            11,411.45
                                                      10/5/18                 144355             2,300.10
                                                      10/5/18                 144356             9,781.10
                                                                                              216,273.64

51--US FOODSERVICE
                                                      7/23/18                 143818            12,522.43
                                                      7/23/18                 143819            10,565.08
                                                      7/23/18                 143820            17,860.76
                                                      7/23/18                 143821            19,720.93
                                                      8/2/18                  143985            17,401.51
                                                      8/22/18                 144093            22,351.58
                                                      10/5/18                 144344            20,787.09
                                                      10/5/18                 144345            18,884.42
                                                      10/5/18                 144346            20,801.75
                                                                                              160,895.55

5059--3M HEALTH INFORMATION SYSTEMS
                                                      10/5/18                 144334           38,818.97


1163--STERICYCLE INC
                                                      10/5/18                 144342           11,294.20


876--MID AMERICA ELEVATOR
                                                      10/5/18                 144339           11,694.71


7341--WOODEN & MCLAUGHLIN, LLP
                                                      8/22/18                 144096            20,000.00
                                                      8/29/18                 144155            15,142.05
                                                      9/28/18                 144315            10,000.00
                                                      10/5/18                 144347            11,627.25
                                                                                               56,769.30

159--BLUE & CO., LLC
                                                      8/10/18                 144012           100,000.00
                                                      8/23/18                 144116            50,000.00
                                                      10/5/18                 144335            60,000.00
                                                                                              210,000.00

11344--MEDICAL HOSPITALISTS, LLC
                                                      7/23/18                 143795            45,606.07
                                                      8/22/18                 144098            45,606.07
                                                      9/13/18                 144188            45,606.07
                                                      10/5/18                 144338            45,606.07
                                                                                              182,424.28

4465--NORTHWEST RADIOLOGY NTWK
                                                      8/7/18                  143990               626.82
                                                      10/5/18                 144340            41,666.66
                                                                                               42,293.48

10682--RENOVO SOLUTIONS LLC
                                                      7/23/18                 143811            60,099.46
                                                      8/23/18                 144126            41,502.24
                                                      9/25/18                 144277            20,181.60
                                                      10/5/18                 144341            22,866.41
                                                                                              144,649.71

4882--JOE WEBSTER, MS, DABR
                                                      8/14/18                 144032             9,321.54
Case 18-07762-JJG-11                  Doc 67      Filed 11/01/18       EOD 11/01/18 22:09:49   Pg 122 of 131



                                                            9/26/18                  144294            10,322.49
                                                            10/5/18                  144337            18,265.34
                                                                                                      37,909.37

11823--ROBERT HALF
Check was returned                                          10/5/18                  144333            7,000.00


3749--WEAS ENGINEERING INC
                                                            7/12/18                  143717             3,887.84
                                                            10/4/18                  144327             9,389.64
                                                                                                      13,277.48

11622--CARESTAFF PARTNERS LLC
                                                            10/3/18                  144324           11,844.00


11813--MATTHEW MORENO
                                                            10/3/18                  144323           53,342.88


10895--TRUESCRIPTS
Prescription payment for employee prescriptions             7/3/18                   143668             4,436.06
                                                            7/16/18                  143753             7,481.05
                                                            7/23/18                  143799            12,713.81
                                                            8/9/18                   144002            18,502.48
                                                            8/15/18                  144050            17,119.84
                                                            8/22/18                  144095            24,938.15
                                                            8/29/18                  144156             5,046.97
                                                            9/10/18                  144179            26,510.38
                                                            9/17/18                  144213            11,481.50
                                                            9/24/18                  144276             4,845.92
                                                            10/3/18                  144322             7,824.73
                                                                                                     140,900.89

8252--GENSET SERVICE, LLC
                                                            10/2/18                  144321            8,525.78


8342--FIRST FINANCIAL CORP LEASING
                                                            7/23/18                  143802             6,542.00
                                                            8/16/18                  144060             4,382.00
                                                            9/30/18                  144326             4,382.00
                                                                                                      15,306.00

67--AMERISOURCE-BERGEN
                                                            7/2/18                   143658            21,441.71
                                                            7/10/18                  143699            34,693.88
                                                            7/16/18                  143750            34,046.76
                                                            7/23/18                  143797            50,534.65
                                                            7/30/18                  143867            44,946.65
                                                            8/6/18                   143988            32,841.27
                                                            8/13/18                  144025            74,889.71
                                                            8/20/18                  144071            41,341.92
                                                            8/27/18                  144146            28,286.52
                                                            9/5/18                   144171            21,629.22
                                                            9/10/18                  144180            42,684.59
                                                            9/17/18                  144212            38,968.81
                                                            9/24/18                  144269            22,128.50
                                                            9/30/18                  144318            89,219.12
                                                            10/10/18                 144384            23,143.41
                                                                                                     600,796.72

11771--DOMINIC MAGA, DO
                                                            9/14/18                  144204             4,320.00
                                                            9/14/18                  144208             4,320.00
                                                            9/17/18                  144211             2,880.00
                                                            9/19/18                  144254             4,320.00
                                                            9/21/18                  144262             4,320.00
                                                                                                      20,160.00

848--MEDLINE INDUSTRIES INC
                                                            7/3/18                   143669             1,702.95
                                                            7/3/18                   143671             7,388.96
                                                            7/3/18                   143672             5,660.76
                                                            7/3/18                   143673             5,886.35
                                                            7/3/18                   143674             1,270.39
                                                            7/3/18                   143675             7,725.82
                                                            7/3/18                   143676             6,160.00
                                                            7/3/18                   143677             4,204.85
                                                            7/23/18                  143822             6,160.70
                                                            7/23/18                  143823             2,974.62
                                                            7/23/18                  143824             4,613.34
                                                            7/23/18                  143825             7,007.88
                                                            7/23/18                  143826            14,654.91
                                                            7/23/18                  143827             9,203.09
                                                            7/23/18                  143828             5,296.33
                                                            7/23/18                  143829             6,874.02
Case 18-07762-JJG-11              Doc 67   Filed 11/01/18      EOD 11/01/18 22:09:49   Pg 123 of 131



                                                     7/23/18                 143830             7,504.74
                                                     7/23/18                 143831             3,648.09
                                                     7/23/18                 143832             9,545.15
                                                     7/23/18                 143833             4,422.13
                                                     7/23/18                 143834             4,966.47
                                                     9/27/18                 144304             8,323.94
                                                     9/27/18                 144305             4,461.77
                                                     9/27/18                 144306             9,492.93
                                                     9/27/18                 144307            12,532.43
                                                     9/27/18                 144308             6,091.04
                                                     9/27/18                 144309             3,334.14
                                                     9/27/18                 144310               367.27
                                                     9/27/18                 144311             5,437.49
                                                                                             176,912.56

11583--ALLCARE MEDICAL SERVICES
                                                     9/27/18                 144303           13,515.69


3284--HFAP
                                                     9/26/18                 144301           28,401.00


11121--PREMIUM ASSIGNMENT CORPORATION
                                                     7/26/18                 143847            52,976.77
                                                     8/20/18                 144069            52,976.77
                                                     9/26/18                 144293            52,976.77
                                                                                             158,930.31

8319--TRIAD ISOTOPES INC
                                                     7/30/18                 143872             4,553.20
                                                     8/2/18                  143972               426.61
                                                     9/24/18                 144273             5,224.37
                                                                                              10,204.18

3726--AIRGAS MID AMERICA
                                                     9/24/18                 144271             4,236.25
                                                     9/24/18                 144272             4,221.08
                                                                                               8,457.33

11378--TRIFECTA NETWORKS
                                                     7/31/18                 143882            61,078.51
                                                     8/23/18                 144129            22,898.58
                                                     9/24/18                 144270            38,068.69
                                                                                             122,045.78

10118--SIHO INSURANCE SERVICES
                                                     7/17/18                 143752            35,695.06
                                                     9/19/18                 144251            29,357.20
                                                     9/21/18                 144267            36,998.70
                                                                                             102,050.96

7237--WEATHERBY LOCUMS, INC
                                                     7/30/18                 143870            50,000.00
                                                     8/23/18                 144130            50,000.00
                                                     9/21/18                 144265            15,042.25
                                                                                             115,042.25

11421--CANON FINANCIAL SERVICES
                                                     7/12/18                 143714            10,511.66
                                                     8/21/18                 144083            10,511.66
                                                     9/17/18                 144216            11,562.83
                                                     9/19/18                 144252             2,074.54
                                                                                              34,660.69

11436--TERENCE GROGAN, DO
                                                     7/3/18                  143667            18,838.58
                                                     9/18/18                 144245               731.00
                                                                                              19,569.58

11134--KING LAWN SERVICE
                                                     7/10/18                 143702             2,195.00
                                                     8/2/18                  143941             1,080.00
                                                     8/10/18                 144021             1,075.00
                                                     8/10/18                 144023             2,100.00
                                                     9/18/18                 144239             2,040.00
                                                                                               8,490.00

11417--ADP LLC
                                                     8/7/18                  143995             8,499.00
                                                     9/17/18                 144215             9,963.80
                                                                                              18,462.80

10796--FRIENDSOFFICE
                                                     9/13/18                 144195            7,244.28


11092--WATCHCHILD
Case 18-07762-JJG-11                 Doc 67   Filed 11/01/18      EOD 11/01/18 22:09:49   Pg 124 of 131



                                                        9/13/18                 144201           7,892.00


11379--DELTA DENTAL
                                                        7/23/18                 143816            4,445.31
                                                        9/12/18                 144187           19,556.36
                                                                                                24,001.67

11766--UNIVERSAL LINEN SERVICES LLC
                                                        9/11/18                 144185            9,089.63
                                                        9/11/18                 144186              737.26
                                                                                                 9,826.89

2791--HOLOGIC INC
                                                        8/27/18                 144149            5,100.72
                                                        9/7/18                  144178            3,167.96
                                                                                                 8,268.68

10589--CIMA ENERGY
                                                        7/13/18                 143732            8,633.64
                                                        9/5/18                  144172           16,376.70
                                                                                                25,010.34

2576--SUN NUCLEAR CORPORATION
                                                        8/1/18                  143888           40,429.70
                                                        8/30/18                 144170           40,429.69
                                                                                                80,859.39

535--HASSLER TEXTILE SERVICES
                                                        7/9/18                  143698            8,911.89
                                                        8/30/18                 144163            7,198.86
                                                                                                16,110.75

220--CDW LLC
                                                        8/10/18                 144017           56,964.12
                                                        8/24/18                 144133           25,000.00
                                                        8/29/18                 144158           17,518.55
                                                                                                99,482.67

49--CARDINAL HEALTH MEDICAL
                                                        8/24/18                 144136            2,233.24
                                                        8/24/18                 144137            3,552.77
                                                        8/24/18                 144138            3,246.67
                                                        8/24/18                 144139            2,853.91
                                                        8/24/18                 144140            2,401.09
                                                        8/24/18                 144141            2,146.76
                                                                                                16,434.44

11602--RN NETWORK
                                                        8/24/18                 144145           7,780.00


11533--MINDRAY NORTH AMERICA
                                                        8/24/18                 144143          13,209.53


461--FISHER SCIENTIFIC
                                                        8/23/18                 144117            3,367.21
                                                        8/23/18                 144118           11,437.81
                                                        8/23/18                 144119           25,256.30
                                                                                                40,061.32

2461--JOHNSON CONTROLS INC
                                                        7/20/18                 143793           50,000.00
                                                        8/23/18                 144121           28,283.43
                                                                                                78,283.43

11061--MEDICUS LOCUM SERVICES, LLC
                                                        7/26/18                 143846           16,338.14
                                                        8/23/18                 144122           20,000.00
                                                                                                36,338.14

124--BAXTER HEALTHCARE CORP
                                                        8/15/18                 144036            3,046.23
                                                        8/15/18                 144037            3,714.82
                                                        8/15/18                 144038            3,062.17
                                                        8/15/18                 144039            2,669.06
                                                        8/15/18                 144040            2,936.30
                                                        8/23/18                 144115            1,502.69
                                                                                                16,931.27

7995--PHILIPS HEALTHCARE
                                                        8/23/18                 144124           36,371.00
                                                        8/23/18                 144125           63,558.00
                                                                                                99,929.00

1590--WLPK 106.9FM WIFE 94.3FM
                                                        7/20/18                 143791            2,979.50
Case 18-07762-JJG-11               Doc 67   Filed 11/01/18      EOD 11/01/18 22:09:49   Pg 125 of 131



                                                      8/23/18                 144131            3,519.50
                                                                                               6,499.00

7683--NORIX GROUP INC
                                                      8/23/18                 144123          25,187.50


11372--HAEMONETICS CORPORATION
                                                      7/10/18                 143700           23,568.00
                                                      8/23/18                 144120           14,988.00
                                                                                              38,556.00

619--INDIANA BLOOD CENTER
                                                      8/23/18                 144100          21,830.30


132--BECKMAN COULTER INC
                                                      8/22/18                 144090           7,349.10


745--LAB CORP OF AMERICA
                                                      8/21/18                 144086          63,853.30


11541--ALPHA IMAGING LLC
                                                      8/21/18                 144084          18,909.00


221--CEI
                                                      8/21/18                 144077            6,907.32
                                                      8/21/18                 144078           13,482.93
                                                                                              20,390.25

9785--JULES & ASSOCIATES
                                                      8/21/18                 144075          18,739.80


11105--MCKESSON MEDICAL-SURGICAL
                                                      7/23/18                 143805           13,243.75
                                                      7/23/18                 143806           10,162.14
                                                      7/23/18                 143807           20,691.63
                                                      7/23/18                 143808           22,315.25
                                                      8/15/18                 144049           13,805.38
                                                                                              80,218.15

1439--CLAIMAID
                                                      7/2/18                  143659            8,391.40
                                                      7/24/18                 143844            8,666.40
                                                      8/13/18                 144029            8,666.40
                                                                                              25,724.20

606--IARCA INSTITUTE
                                                      8/13/18                 144028           7,373.00


3713--DR JAG PATEL
                                                      7/3/18                  143662            7,500.00
                                                      8/13/18                 144026            5,000.00
                                                                                              12,500.00

10263--AVESIS
                                                      8/10/18                 144018           13,393.38
                                                      8/10/18                 144024            2,101.55
                                                                                              15,494.93

11416--AMERICAN UNITED LIFE INSURANCE
                                                      7/23/18                 143814           16,202.12
                                                      8/10/18                 144019           32,734.10
                                                                                              48,936.22

11408--MARY PATRICK MD
                                                      7/20/18                 143786            5,123.75
                                                      8/2/18                  143947              250.00
                                                      8/10/18                 144014            1,795.45
                                                                                               7,169.20

11359--QUIDEL CORPORATION
                                                      8/9/18                  144009           10,680.00
                                                      8/9/18                  144010            3,200.00
                                                                                              13,880.00

10844--MACRO HELIX
                                                      8/9/18                  144008          36,796.90


4459--WELLS FARGO WHOLESALE LOCKBOX
                                                      7/10/18                 143704           16,183.00
                                                      8/9/18                  144005           15,712.52
Case 18-07762-JJG-11              Doc 67        Filed 11/01/18      EOD 11/01/18 22:09:49   Pg 126 of 131



                                                                                                   31,895.52

549--CARD MEMBER SERVICES
                                                          8/9/18                  144001           18,424.69


10428--EASTERN ALLIANCE INSURANCE GROUP
                                                          8/9/18                  143998           16,792.00


11376--ADVANCED DATA SYSTEMS CORP
                                                          8/1/18                  143890             3,980.00
                                                          8/3/18                  143986            11,940.00
                                                                                                   15,920.00

1442--MCKESSON SPECIALTY
                                                          8/2/18                  143903           16,417.13


380--FORBES MEDICAL TRANSCRIPTION
                                                          7/5/18                  143691             8,247.68
                                                          8/2/18                  143895             3,266.92
                                                                                                   11,514.60

9024--PHILIPS MEDICAL CAPITAL
                                                          7/30/18                 143871           50,397.18


9810--RESOURCE ANESTHESIOLOGY ASSOCIATE OF IN
                                                          7/2/18                  143660            69,689.00
                                                          7/30/18                 143869            69,689.00
                                                                                                  139,378.00

11523--MANTA RESOURCES INC
                                                          7/26/18                 143854           30,000.00


5652--DEX MEDIA
                                                          7/26/18                 143853            7,832.41


1089--ROSA'S
                                                          7/23/18                 143835             1,471.90
                                                          7/23/18                 143836             1,306.90
                                                          7/23/18                 143837            25,195.75
                                                          7/23/18                 143838               889.78
                                                          7/23/18                 143839               607.66
                                                          7/23/18                 143840               582.72
                                                                                                   30,054.71

7813--4MYBENEFITS, INC.
                                                          7/23/18                 143813            8,427.59


11089--COLONIAL LIFE
                                                          7/23/18                 143815           15,359.74


11511--THE CHANGE COMPANIES
                                                          7/23/18                 143817            8,835.00


7162--DELTA PHYSICIAN PLACEMENT, LLC
                                                          7/23/18                 143801            7,475.28


10984--SISKIN PHYSICIANS LLC
                                                          7/23/18                 143796          204,307.36


1002--PORTER ADVERTISING LLC
                                                          7/20/18                 143788            8,540.50


5400--CS KERN
                                                          7/20/18                 143783            7,270.00


9154--NEXTGEN HEALTHCARE
                                                          7/3/18                  143663            40,000.00
                                                          7/12/18                 143713            36,076.98
                                                                                                   76,076.98

4883--REID HEALTH PHARMACY
                                                          7/12/18                 143709            7,534.34


10250--EASTERN ALLIANCE INSURANCE COMPANY
Case 18-07762-JJG-11                Doc 67   Filed 11/01/18      EOD 11/01/18 22:09:49   Pg 127 of 131



                                                       7/9/18                  143697           18,979.93


10922--ORTHO-CLINICAL DIAGNOSTICS
                                                       7/9/18                  143696           28,299.18


11276--HEALTH CAROUSEL LLC
                                                       7/3/18                  143679           14,635.78


7826--ADVANCED MEDICAL PERSONNEL SERVICES
                                                       7/3/18                  143665            6,920.00


CARDINAL HEALTH 340B
                                                       8/27/18                                   32,098.28
                                                       9/24/18                                   14,648.67
                                                       9/27/18                                   15,556.56
                                                                                                62,303.51


VAR - WELLS FARGO                                      7/2/18                                     7,642.10
                                                       8/1/18                                     7,642.10
                                                                                                15,284.20


PHARMACY SYSTEMS
                                                       7/2/18                                     7,643.00
                                                       7/11/18                                    9,598.41
                                                       7/25/18                                    8,018.09
                                                       8/1/18                                     7,643.00
                                                       8/13/18                                    9,111.05
                                                       8/22/18                                    9,610.29
                                                       9/5/18                                     8,315.19
                                                       9/11/18                                    7,643.00
                                                       9/19/18                                    9,812.18
                                                       10/1/18                                    7,643.00
                                                       10/4/18                                    8,338.70
                                                                                                93,375.91


ORCHARD SOFTWARE
                                                       7/3/18                                     6,979.91
                                                       8/1/18                                     6,979.91
                                                       9/7/18                                     6,979.91
                                                       10/5/18                                    6,979.91
                                                                                                27,919.64


ZAWNA HEALTH
                                                       8/20/18                                   26,000.00
                                                       8/29/18                                   54,947.00
                                                                                                80,947.00


CATALYST
                                                       7/5/18                                     9,309.70
                                                       8/2/18                                    10,600.00
                                                       9/7/18                                    10,600.00
                                                                                                30,509.70


340B MCKESSON
                                                       7/10/18                                    4,386.22
                                                       7/25/18                                    2,662.30
                                                       8/10/18                                    5,002.97
                                                       9/10/18                                    8,260.60
                                                       9/25/18                                    2,083.43
                                                                                                22,395.52


BARRINGTON                                             7/16/18                                   25,111.00
                                                       7/17/18                                   14,020.00
                                                       8/16/18                                   25,111.00
                                                       8/17/18                                   14,020.00
                                                       9/17/18                                   39,131.00
                                                                                               117,393.00


ATHENA HEALTH                                          7/17/18                                   14,945.40
                                                       7/23/18                                   71,320.11
                                                       7/27/18                                    4,230.69
                                                       8/15/18                                    1,587.98
                                                       8/24/18                                   78,744.86
                                                       9/17/18                                      544.19
                                                       9/24/18                                   91,534.50
                                                                                               262,907.73
Case 18-07762-JJG-11      Doc 67   Filed 11/01/18      EOD 11/01/18 22:09:49   Pg 128 of 131




COMERCIAL LOAN DETROIT
                                             7/2/18                                    76,863.52
                                             8/1/18                                    74,664.05
                                             9/6/18                                    84,493.40
                                             10/1/18                                   68,127.33
                                                                                     304,148.30


COMERICA GCM                                 7/2/18                                    10,107.55
                                             8/1/18                                     9,899.95
                                             9/7/18                                     9,918.37
                                             10/1/18                                    9,860.20
                                                                                      39,786.07


NAVIENT                                      8/30/18                                  10,000.00


RESOURCE ANESTHESIOLOGY
                                             10/4/18                                   15,000.00
                                             10/5/18                                   15,000.00
                                             10/8/18                                   15,000.00
                                                                                      45,000.00
 Case 18-07762-JJG-11      Doc 67    Filed 11/01/18     EOD 11/01/18 22:09:49       Pg 129 of 131


Fayette Memorial Hospital Association
Insider Payments in 1 year prior to Petition Date

                                                                                    Student Loan
                                 Salary             Bonus          ETO Cash Out      Assistance
Randall White        CEO            287,034.80       $57,400.00
Alison Gates         COO            130,000.00       $19,500.00
Donald Day           CNO            165,000.00
Samantha Bell-Jent   CFO            165,000.00        $19,500.00        $2,500.00       $10,000.00
         Case 18-07762-JJG-11                           Doc 67        Filed 11/01/18         EOD 11/01/18 22:09:49               Pg 130 of 131
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of Indiana
 In re       Fayette Memorial Hospital Association, Inc.                                                      Case No.      18-07762
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 36,717.00
             Prior to the filing of this statement I have received                                        $                 36,717.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Counsel has received a pre-petition retainer for payment of pre-petition fees and as a deposit against fees and
                 costs incurred post-petition. A total retainer of $36,717 ws received, of which $24,095 paid pre-petition fees and
                 pre-paid the Ch. 11 filing fee prior to filing. $12,621.50 remains in Trust as a retainer against Post-Petition Fees
                 and Costs. The Debtor has agreed to pay the hourly fees and expenses of counsel on a post-petition basis.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 1, 2018                                                            /s/ Wendy D. Brewer
     Date                                                                        Wendy D. Brewer 22669-49
                                                                                 Signature of Attorney
                                                                                 Fultz Maddox Dickens, PLC
                                                                                 333 N. Alabama Street
                                                                                 Suite 350
                                                                                 Indianapolis, IN 46204
                                                                                 317-215-6220 Fax: 317-252-0275
                                                                                 wbrewer@fmdlegal.com
                                                                                 Name of law firm




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
         Case 18-07762-JJG-11                           Doc 67         Filed 11/01/18           EOD 11/01/18 22:09:49                      Pg 131 of 131

                                                               United States Bankruptcy Court
                                                                      Southern District of Indiana
 In re      Fayette Memorial Hospital Association, Inc.                                                               Case No.       18-07762
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Financial Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date November 1, 2018                                                       Signature /s/ Samantha Bell-Jent
                                                                                            Samantha Bell-Jent

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
